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                                         #:15


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14    EUROMARKET DESIGNS, INC.

15                             UNITED STATES DISTRICT COURT

16                            CENTRAL DISTRICT OF CALIFORNIA

17

18    NICOLE A. WILLIAMS, individually        CASE NO.
      and on behalf of others similarly
19    situated,                               DECLARATION OF ELLEN
                                              BRONCHETTI IN SUPPORT OF
20          Plaintiff,                        DEFENDANT EUROMARKET
                                              DESIGNS, INC.’S NOTICE OF
21    v.                                      REMOVAL
22    EUROMARKET DESIGNS, INC. DBA
      CB2 AND CRATE & BARREL AND              [28 U.S.C. §§ 1332, 1441, and 1446]
23    CRATE & KIDS AND HUDSON
      GRACE; and DOES 1 through 25,           [Filed concurrently with the Declaration
24    inclusive,                              of Marissa Soran, Notice of Removal,
                                              Corporate Disclosure Statement, and Civil
25          Defendants.                       Case Cover Sheet]
26                                            Removed from Los Angeles County
                                              Superior Court – Case No. 24STCV01463
27
                                              Action Filed: January 18, 2024
28
                                              1
       DECLARATION OF ELLEN BRONCHETTI IN SUPPORT OF DEFENDANT EUROMARKET DESIGNS INC.’S
                                     NOTICE OF REMOVAL
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 1          I, Ellen Bronchetti, declare:
 2          1.     I am an attorney duly licensed to practice law in the State of California. I am a
 3    shareholder at Greenberg Traurig, LLP, counsel of record for Defendant Euromarket
 4    Designs, Inc. (“Defendant” or “Euromarket”) in the above-entitled matter. I make this
 5    declaration in support of Defendant’s Notice of Removal. I have personal knowledge of the
 6    facts stated herein or know of such facts from my review of the case documents and the
 7    court docket in this matter and other information that is publicly available or provided to
 8    me by Euromarket and, if called upon, I could and would testify competently to their truth.
 9          2.     On January 18, 2024, Plaintiff Nicole A. Williams (“Plaintiff” or “Williams”)
10    filed a putative Class Action Complaint in the Superior Court of California for the County
11    of Los Angeles (“State Court”), entitled Nicole A. Williams, et al. v. Euromarket Design,
12    Inc., Case No. 24STCV01463 (the “State Court Action”). A true and correct copy of the
13    Complaint and Summons is attached as Exhibit A to Defendant’s Notice of Removal being
14    filed concurrently herewith.
15          3.     Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit B to Euromarket’s
16    Notice of Removal being filed concurrently herewith are all other (i.e., excluding Exhibit
17    A) process, pleadings, and orders served upon Euromarket in the State Court Action.
18          4.     Pursuant to 28 U.S.C. § 1446(d), promptly after filing the Notice of Removal,
19    Defendant will give separate written notice to all adverse parties and shall file a copy of
20    said notice with the clerk of the Los Angeles County Superior Court.
21          I declare under the penalty of perjury under the laws of the State of California and
22    the United States that the foregoing is true and correct.
23          Executed this 11th day of April, 2024, at San Diego, California.
24

25

26
                                                         Ellen Bronchetti
27

28
                                                   2
       DECLARATION OF ELLEN BRONCHETTI IN SUPPORT OF DEFENDANT EUROMARKET DESIGNS INC.’S
                                     NOTICE OF REMOVAL
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           EXHIBIT A
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                                               #:18




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      1                                                                    Superior Court of California,
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     10
          Attomeys for Plaintiff
     11
          NICOLE A. WILLIAMS, individually and on
     12   behalf of others similarly situated

     13
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
     14
                                      FOR THE COUNTY OF LOS ANGELES
     15
          NICOLE A. WILLIAMS, individually and on           CaseNo.: 24STCV Ojl 4E3
     16   behalf of others similarly situated,
                                                            CLASS ACTION COMPLAINT FOR:
     17                                                       (1) Violation of Cal. Labor Code §§ 1194,
     18                 Plaintiff,                                1197 and 1197.1 (Minimum Wages);

     19          vs.
                                                               (2) Violation of Cal. Labor Code §§ 510
     20   EUROMARKET DESIGNS, INC. DBA CB2                         and 1198 (Unpaid Overtime);
          AND CRATE & BARREL AND CRATE &
     21
          KIDS AND HUDSON GRACE; and DOES 1
          through 25, inclusive,                               (3) Violation of Cal. Labor Code §§ 226.7
     22                                                            and 512(a) (Meal Break Violations);
     23                 Defendants.
     24                                                        (4) Violation of Ca1. Labor Code § 226.7
 ;                                                                 (Rest Break Violations);
     25
     26                                                        (5) Violation of Ca1. Labor Code §§ 204
                                                                   and 210 (Wages Not Timely Paid
     27                                                            During Employment);
     28
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    1
    2                                         (6) Violation of Cal. Labor Code § 226(a)
    3                                             (Wage Statement Violations);

    4
                                              (7) Violation of Cal. Labor Code §§ 201,
    5                                             202 and 203 (Untimely Final Wages);
    6
                                              (8) Violation of Cal. Labor Code §§ 2800
    7                                             and 2802 (Failure to Reimburse
    8                                             Necessary Business Expenses); and

    9
                                              (9) Violation of Cal. Business &
   10                                             Professions Code § 17200, et seq.
   11                                       DEMAND FOR JURY TRIAL
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    1           Plaintiff NICOLE A. WILLIAMS ("Plaintiff'), individually and on behalf of inembers of the

    2   general public similarly situated, alleges as follows against defendant(s) EUROMARKET DESIGNS,

    3   INC. DBA CB2 AND CRATE & BARREL AND CRATE & KIDS AND HUDSON GRACE and

    4   DOES 1 through 25, inclusive ("Defendants"):

    5                                              INTRODUCTION

    6           1.      This is a class action to recover damages on behalf of Plaintiff and all similarly situated

    7 I individuals who worked for Defendants in the State of Califomia as hourly-paid and/or non-exempt

    8   employees at any time from four years prior to the date of this Complaint through final judgment

    9   ("Class Period") ("Class Members").

   10           2.      Plaintiff alleges that Defendants hired Plaintiff and Class Members but, among other

   11   things, failed to properly pay them all wages owed for all time worked (including minimum wages,

   12   regular rate/straight time wages, and overtime wages), failed to provide them with all meal periods

   13   and rest periods and associated premium wages to which they were entitled, failed to timely pay them

   14   all wages due during their employment, failed to timely pay them all wages due upon termination of

   15   their employment, failed to provide them with accurate itemized wage statements, failed to maintain

   16   accurate payroll records, and failed to reimburse them for necessary business expenses.

   17           3.      As a result, Defendants violated, inter alia, California Labor Code sections 201, 202,

   18   203, 204, 226(a), 226.7, 510, 512(a), 1174(d), 1194, 1197, 1197.1, 1198, 2800, and 2802, and the

   19   applicable Industrial Welfare Commission ("IWC") Wage Order. Through this action, Plaintiff seeks

   20   to recover all available remedies including but not limited to actual and liquidated damages and

   21   attorney's fees and costs.

   22                                      JURISDICTION AND VENUE

   23           4.      This is a class action lawsuit brought pursuant to California Code of Civil Procedure

   24 l section 382.

   25           5.      The monetary damages, restitution, statutory penalties, and other applicable legal and

   26   equitable relief sought by Plaintiff exceeds the minimal jurisdiction limits of the Superior Court and

   27   will be established according to proof at trial.

   28           6.      This Court has jurisdiction over this action pursuant to the California Constitution,



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     1   Article VI, section 10, which grants the superior court "original jurisdiction in all other causes" except

     2   those given by statute to other courts. The statutes under which this action is brought do not specify

     3   any other basis for jurisdiction.

     4           7.     This Court has jurisdiction over all Defendants because, upon information and belief,

     5   Defendants are either citizens of Califomia, have sufficient minimum contacts in Califomia, and/or

     6   otherwise intentionally avail themselves of the California market so as to render the exercise of

     7   jurisdiction over them by the California courts consistent with traditional notions of fair play and

     8   substantial justice. Further, no federal question is at issue because the claims asserted herein are based

     9   solely on California law.

    10          8.      Venue is proper in this Court because, upon information and belief, Defendants

    11   maintain offices, have agents, employ individuals, and/or transact business in the State of California,

    12   County of Los Angeles. Many of the acts, events, and violations alleged herein relating to Plaintiff

    13   occurred throughout the state of Califomia, including in the County of Los Angeles.

    14                                               THE PARTIES

    15          9.      At all times herein mentioned, Plaintiff NICOLE A. WILLIAMS is and was an

    16   individual residing in Los Angeles County in the State of California.

    17           10.    At all times herein mentioned, Defendant EUROMARKET DESIGNS, 1NC. DBA

    18 ~ CB2 AND CRATE & BARREL AND CRATE & KIDS AND HUDSON GRACE was and is, an
    19   employer who does business in Califomia, with locations throughout the state of California, and whose

    20   employees are engaged throughout Los Angeles County and the State of California, including at 23410

    21   Civic Center Way Suite A-1, Malibu, California 90265.

    22           11.    Plaintiff is unaware of the true names or capacities of the Defendants sued herein under

    23   the fictitious names DOES 1 through 25 but will seek leave of this Court to amend the complaint and

    24   serve such fictitiously named Defendants once their names and capacities become known.
0
    25          12.     Plaintiff is informed and believe, and thereon allege, that the acts and omissions alleged

    26   herein were performed by, or are attributable to EUROMARKET DESIGNS, INC. DBA CB2 AND

    27   CRATE & BARREL AND CRATE & KIDS AND HUDSON GRACE and/or DOES 1 through 25,

    28   each acting as the agent, employee, alter ego, and/or joint venturer of, or working in concert with, each



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    1    ofthe other co-Defendants and within the course and scope of such agency, employment, joint venture,

    2    or concerted activity with legal authority to act on the others' behalf. The acts of Defendants represent

    3    and were in accordance with Defendants' official policies.

     4          13.     At all relevant times, Defendants were the employers of Plaintiff within the meaning

     5   of all applicable state laws and statutes. Defendants directly or indirectly controlled or affected the

     6   working conditions, wages, working hours, and conditions of employment of Plaintiff so as to make

     7   each of said Defendants employers and employers liable under the statutory provisions set forth herein.

     8          14.     Defendants had the authority to hire and terminate Plaintiff and the other class

     9   members, to set work rules and conditions goveming Plaintiff and the other class members'

    10   employment, and to supervise their daily employment activities.

    11          15.     Defendants exercised sufficient authority over the terms and conditions of Plaintiff

    12   and the other class members' employment for them to be joint employers of Plaintiff and the other

    13   class members.

,   14          16.     Defendants directly hired and paid wages to Plaintiff and the other class members.

    15          17.     Defendants continue to employ hourly paid and/or non-exempt employees within the

    16   State of California.

    17          18.     At all relevant times, Defendants, and each of them, ratified each act or omission !II

    18   complained of herein. At all relevant times, Defendants, and each of them, aided and abetted the acts

    19   and omissions of each and all the other Defendants in proximately causing the damages herein alleged.

    20          19.     Plaintiff is informed and believes, and thereon alleges, that each Defendant is in some

    21   manner intentionally, negligently, or otherwise responsible for the acts, omissions, occurrences, and

    22   transactions alleged herein.

    23                                       GENERAL ALLEGATIONS

    24          20.     Plaintiff worked for Defendants from approximately May 2023 through approximately

    25   October 2023 as a Design Consultant. Defendants jointly and severally employed Plaintiff at their

    26   location in Los Angeles, Califomia. Plaintiff performed various duties for Defendants including,

    27   among other things, assisting with interior design and selling brand ideas to customers. Defendants'

    28   business involves design and furnishings, and Defendants maintain employees throughout California,



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    1   including in Los Angeles County.

    2              21.   Plaintiff is informed and believes, and thereon alleges that Defendants engaged in a

    3   pattern and practice of wage abuse against their hourly-paid and/or non-exempt employees. As set

    4   forth in more detail below, this pattern and practice of wage abuse involved, inter alia, requiring

    5   Plaintiff and the class members to work off-the-clock without compensation, failing to properly pay

    6   wages for all hours worked, failing to provide all meal and rest breaks to which Plaintiff and class

    7   members were entitled and failing to pay meal and rest break premiums when due, failing to timely

    8   pay wages during employment and upon termination of employment, failing to provide accurate wage

    9   statements, failing to reimburse necessary business-related expenses and failing to adhere to other

   10   related protections afforded by the Califomia Labor Code and the applicable Industrial Welfare

   11   Commission Wage Order.

   12              22.   Defendants knew or should have known that they had a duty to compensate Plaintiff

   13   and class members pursuant to Califomia law. Defendants had the financial ability to pay such

   14   compensation, but willfully, knowingly, and intentionally failed to do so to increase Defendants'

   15   profits.

   16                                    CLASS ACTION ALLEGATIONS

   17              23.   Plaintiff brings this lawsuit as a class action on behalf of Plaintiff and all others

   18   similarly situated, as members of a proposed class pursuant to California Code of Civil Procedure

   19   section 382. The class satisfies the numerosity, commonality, typicality, adequacy, predominance, and

   20   superiority requirements under Califomia Code of Civil Procedure section 382.

   21              24.   The proposed Class is defined as follows:

   22                    All current and former hourly-paid and/or non-exempt employees

   23                    who worked for Defendants in the State of California at any time

   24                    during the period from four years prior to the date of the filing of

   25                    this Complaint until final judgment.

   26              25.   The proposed Former Employee Sub-Class is defined as follows:

   27                    All former hourly-paid and/or non-exempt employees who worked

   28                    for Defendants in the State of California at any time during the



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   1                   period from four years prior to the date of the filing of this

   2                   Complaint until final judgment.

   3          26.      Plaintiff reserves the right to establish additional subclasses as appropriate.

   4          27.      There is a well-defined community of interest in this litigation and the Class is easily

   5   ascertainable. While the exact number and identities of class members are currently unknown to

   6   Plaintiff, such information can be ascertained through appropriate discovery from records maintained

   7   by Defendants and their agents.

   8          28.      The Class is so numerous that the individual joinder of all its members is impracticable.

   9          29.       Common questions of fact and law exist as to all class members, which predominate

  10   over any questions affecting only individual members of the Class. The common legal and factual

  11   questions which do not vary from class member to class member, and which may be determined

  12   without reference to the individual circumstances of any class member include the following:

  13                i. Whether Defendants had a policy and practice of failing to pay minimum wages to

  14                   Plaintiff and the other class members for all hours worked;

  15                ii. Whether Defendants had a policy and practice of failing to pay overtime wages to

  16                   Plaintiff and the other class members for all overtime hours worked;

  17             iii. Whether Defendants had a policy and practice of failing to provide meal periods to

  18                   Plaintiff and the other class members;

  19             iv. Whether Defendants had a policy and practice of failing to provide rest periods to

  20                   Plaintiff and the other class members;

  21                v. Whether Defendants failed to pay their hourly-paid and/or non-exempt employees in

  22                   the State of California for all hours worked, and for all missed, short, late, and/or

  23                   interrupted meal periods and rest breaks;

  24             vi. Whether Defendants failed to timely pay all wages due to Plaintiff and the other class

  25                   members during their employment;

  26            vii. Whether Defendants' failure to pay wages, without abatement or reduction, in

  27                   accordance with the California Labor Code, was willful;

  28           viii. Whether Defendants failed to pay all wages due to Plaintiff and the other class members



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   1                    within the required time upon their discharge or resignation;

   2                ix. Whether Defendants failed to comply with wage reporting as required by the Califomia

   3                    Labor Code; including, inter alia, section 226;

   4                x. Whether Defendants failed to reimburse Plaintiff and the other class members for

   5                    necessary business-related expenses and costs;

   6                xi. Whether Defendants' conduct was willful or reckless;

   7             xii. Whether Defendants engaged in unfair business practices in violation of California

   8                    Business & Professions Code section 17200, el seq.;

   9            xiii. The appropriate amount of damages, restitution, and/or monetary penalties resulting

  10                    from Defendants' violation of California law; and

  11            xiv. Whether Plaintiff and the other class members are entitled to compensatory damages

  12                    pursuant to the Califomia Labor Code.

  13          30.       Plaintiff's claims are typical of the claims of the Class, and Plaintiff's interests are

  14   coincident with and not antagonistic to those of the other class members Plaintiff seeks to

  15   represent. Plaintiff will fairly and adequately protect the interests of the members of the Class.

  16   Plaintiff has retained attorneys experienced in the prosecution of class actions and Plaintiff intend to

  17   prosecute this action vigorously.

  18          31.       A class action is superior to other available methods for the fair and efficient

  19 l adjudication of this controversy since individual litigation of the claims of all class members is

  20   impracticable. Even if every class member could afford individual litigation, the court system could

  21   not. It would be unduly burdensome on the courts in which individual litigation of numerous cases

  22   would proceed. Individualized litigation would also present the potential for varying, inconsistent

  23   and/or contradictory judgments and would magnify the delay and expense to all parties and to the

  24   court system resulting from multiple trials of the same factual and legal issues. By contrast, the conduct

  25   of this action as a class action presents fewer management difficulties, conserves the resources of the

  26   parties and of the court system, and protects the rights of each class member.

  27          32.      Certification of this lawsuit as a class action will advance public policy objectives.

  28   Employers of this great state violate employment and labor laws every day. Current employees are



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   1   often afraid to assert their rights out of fear of direct or indirect retaliation. However, class

   2   actions provide the class members who are not named in the complaint anonymity that allows for the

   3   vindication of their rights.

   4                                       FIRST CAUSE OF ACTION

   5                VIOLATION OF LABOR CODE SECTIONS 1194, 1197, AND 1197.1

   6                                      Failure to Pay Minimum Wage

   7                                         (Against All Defendants)

   8          33.      Plaintiff incorporates by reference the allegations in all preceding paragraphs.

   9          34.      Califomia Labor Code sections 1194, 1197 and 1197.1 provide that the minimum wage

  10   for employees fixed by the Industrial Welfare Commission is the minimum wage to be paid to

  11   employees, and the payment of a wage less than the minimum so fixed is unlawful. Plaintiff and the

  12   other class members were frequently suffered or permitted to work "off-the-clock", such that they

  13   were not paid minimum wage for all hours worked.

  14          35.      Such "off-the-clock" work that Plaintiff and class members were suffered and/or

  15   permitted to work, and for which Plaintiff and class members did not receive minimum wage include

  16   inter alia: (1) accepting shipments, addressing worksite issues, and handling appointments prior to

  17   clocking in; (2) working through meal periods while clocked out to provide customer service and to

  18   perform typical job duties; (3) assisting customers after clocking out; and (4) responding to text
       messages and emails in between shifts.

  20          36.     Moreover, Defendants had a policy, practice and procedure of rounding employee time

  21   such that Plaintiff and some or all class members were systematically unpaid and/or underpaid for

  22   time worked over the course of their employment.

  23          37.     Accordingly, Defendants regularly failed to pay at least minimum wages to Plaintiff

  24   and the other class members for all hours they worked in violation of California Labor Code sections

  25   1194, 1197, and 1197.1.

  26          38.     Defendants knew or should have known that Plaintiff and class members were

  27   performing such work "off-the-clock" because, among other things, Defendants' management

  28   witnessed, authorized, was made aware of, and/or required Plaintiff and class members to perform



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   1 ~ l such work.

   2           39.      Defendants' failure to pay Plaintiff and the other class members the minimum wage as

   3 I I required violates California Labor Code sections 1194, 1197 and 1197.1. Pursuant to those sections,

   4 II Plaintiff and the other class members are entitled to recover the unpaid balance of their minimum wage

   5   compensation, as well as interest, costs, and attorney's fees.

   6           40.      Pursuant to California Labor Code section 1194.2, Plaintiff and the other class

   7   meinbers are entitled to recover liquidated damages in an amount equal to the wages unlawfully unpaid

   8 I I and interest thereon.

   9                                      SECOND CAUSE OF ACTION

  10                       VIOLATION OF LABOR CODE SECTIONS 510 AND 1198

  11                                              Unpaid Overtime

  12                                          (Against All Defendants)

  13           41.      Plaintiff incorporates by reference the allegations in all preceding paragraphs.

  14           42.      California Labor Code section 1198 and the applicable Industrial Welfare Commission

  15   ("IWC") Wage Order provide that it is unlawful to employ persons for extended periods of time

  16   without compensating them at a rate of pay either time-and-one-half or two-times that person's regular

  17   rate of pay, depending on the number of hours worked by the person on a daily and/or weekly basis.

  18           43.     Specifically, the applicable IWC Wage Order provides that Defendants were required

  19   to pay Plaintiff and the other class members at the rate of time-and-one-half for all hours worked in

  20   excess of eight (8) hours in a day, in excess of forty (40) hours in a workweek and/or the first eight

  21   (8) hours worked on the seventh consecutive day in a workweek.

  22           44.     The applicable IWC Wage Order further provides that Defendants were required to pay

  23   Plaintiff and the other class members overtime compensation at a rate of two (2) times their regular

  24   rate of pay for all hours worked in excess of twelve (12) hours in a day and/or for all hours worked in

  25   excess of eight (8) hours on the seventh consecutive day in a workweek.

  26           45.     California Labor Code section 510 codifies the right to overtime compensation at one-

  27   and-one half times the regular hourly rate for hours worked in excess of eight (8) hours in a day, forty

  28   (40) hours in a week, or for the first eight (8) hours worked on the seventh day of work, and to overtime



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   1 I I compensation at twice the regular hourly rate for hours worked in excess of twelve (12) hours in a day
   2   or in excess of eight (8) hours in a day on the seventh day of work.

   3           46.    Plaintiff and the other class members regularly worked in excess of eight (8) hours in

   4   a day, in excess of twelve (12) hours in a day, in excess of forty (40) hours in a week and/or seven (7)

   5   consecutive days in a workweek. However, Defendants did not accurately record Plaintiff and the

   6   other class members' actual hours worked and intentionally and willfully failed to pay all overtime

   7   wages owed to Plaintiff and the other class members. Defendants' failure to pay correct overtime

   8   wages included, inter alia: (a) when the combined total of the off-the-clock work discussed supra and

   9   the on-the-clock work exceed the number of hours that trigger the payment of overtime wages under

  10   Labor Code sections 510 and 1198 and/or the applicable Wage Order; (b) when Defendants

  11   intentionally, willfully and/or negligently mischaracterized overtime as regular rate/straight time, or

  12   similarly mischaracterized double time as time-and-a-half, regular rate/straight time, or minimum

  13   wage; (c) when Defendants assigned more work than could reasonably be completed in a workday or

  14   workweek to Plaintiff and class members, but refused to authorize the overtime necessary for them to ,

  15   complete the assigned work; and (d) when Defendants failed to include all required wages and

  16   renumeration when calculating setting the overtime rate.

  17          47.     Defendants' failure to pay Plaintiff and the other class members as outlined above

  18   violates Califomia Labor Code sections 510 and 1198 and the applicable Wage Order and is therefore

  19   .T7iiIP

  20          48.     Pursuant to Califomia Labor Code section 1194, Plaintiff and the other class members

  21   are entitled to recover their unpaid overtime compensation, and interest, costs, and attomeys' fees.

  22                                      THIRD CAUSE OF ACTION

  23                     VIOLATION OF LABOR CODE SECTIONS 226.7 AND 512

  24                                          Meal Break Violations

  25                                         (Against All Defendants)

  26          49.     Plaintiff incorporates by reference the allegations in all preceding paragraphs.

  27          50.     California Labor Code sections 226.7 and 512(a) and the applicable Wage Order

  28   govem Plaintiff and the other class members' employment by Defendants.



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   1          51.     California Labor Code section 226.7 provides that no employer shall require an

   2   employee to work during any meal period mandated by an applicable IWC Order.

   3          52.     The applicable IWC Wage Order and Califomia Labor Code section 512(a) provide

   4   that an employer may not require, cause, or permit an employee to work for a period of more than five

   5   (5) hours per day without providing the employee with a meal period of not less than thirty (30)

   6   minutes, except that if the total work period per day of the employee is not more than six (6) hours,

   7   the meal period may be waived by mutual consent of both the employer and the employee.

   8          53.     The applicable IWC Wage Order and Califomia Labor Code section 512(a) further

   9   provide that an employer may not require, cause, or permit an employee to worlc a work period of

  10   more than ten (10) hours per day without providing the employee with a second uninterrupted meal

  11   period of not less than thirty (30) minutes, except if the total hours worked is no more than twelve (12)

  12   hours, the second meal period may be waived by mutual consent of the employer and the employee

  13   only if the fii-st meal period was not waived.

  14          54.     Plaintiff and the other class members who were scheduled to work for shifts no longer

  15   than six (6) hours, and who did not waive their legally mandated meal periods by mutual consent, were

  16   required to work for periods longer than five (5) hours without an uninterrupted meal period of not

  17   less than thirty (30) minutes.

  18          55.     Plaintiff and the other class members who were scheduled to work for shifts in excess

  19   of ten (10) hours but no longer than twelve (12) hours, and who did not waive their legally mandated

  20   meal periods by mutual consent, were required to work for periods longer than ten (10) hours without

  21   a second uninterrupted meal period of not less than thirty (30) minutes.

  22          56.     Defendants intentionally and willfully required Plaintiff and the other class members

  23   to work during meal periods and failed to compensate Plaintiff and the other class members for work

  24   performed during meal periods. This includes, among other things, requiring Plaintiff and class

  25   members to work through their lunch breaks, permitting and/or requiring Plaintiff and class members

  26   to take late lunch breaks, permitting and/or requiring Plaintiff and class members to take short lunch

  27   breaks, interrupting and/or allowing others to interrupt Plaintiff and class members during their lunch

  28   breaks, failing to relieve Plaintiff and class members of all duties during their lunch breaks, and



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   1   restricting Plaintiff and class members from leaving the premises during their lunch breaks.

   2          57.     Further, because of Defendants' rounding policy, meal breaks were at times incorrectly

   3   recorded as compliant, when in reality they were untimely and/or cut short.

   4          58.     During the relevant time period, Defendants failed to pay Plaintiff and the other class

   5   members all meal period premiums due pursuant to Califomia Labor Code section 226.7 and 512 and

   6   the applicable Wage Order.

   7          59.     Defendants' conduct therefore violates the applicable IWC Wage Order and California

   8   Labor Code sections 226.7 and 512(a).

   9          60.     Pursuant to the applicable IWC Wage Order and California Labor Code section

  10   226.7(b), Plaintiff and the other class members are entitled to recover from Defendants one additional

  11   hour of pay at their regular rate of compensation for each workday that a compliant meal

  12   period was not provided as well as interest thereon.

  13                                     FOURTH CAUSE OF ACTION

  14                           VIOLATION OF LABOR CODE SECTION 226.7

  15                                           Rest Break Violations

  16                                         (Against A11 Defendants)

  17          61.     Plaintiff incorporates by reference the allegations in all preceding paragraphs.

  18          62.     California Labor Code section 226.7 and the applicable IWC Wage Order govern

  19   Plaintiff and the other class members' employment by Defendants.

  20           63.    Califomia Labor Code section 226.7 provides that no employer shall require an

  21   employee to work during any rest period mandated by an applicable order of the California lWC.

  22          64.     The applicable IWC Wage Order provides that "[e]very employer shall authorize and

  23   permit all employees to take rest periods, which insofar as practicable shall be in the middle of each

  24   work period" and that the "rest period time shall be based on the total hours worked daily at the rate

  25   of ten (10) minutes net rest time per four (4) hours or major fraction thereof' unless the total daily

  26   work time is less than three and one-half (3'/~) hours."

  27          65.     Defendants routinely required Plaintiff and the other class members to work three and

  28   one-half (3 %z) or more hours without authorizing or permitting a compliant ten (10) minute rest period



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   1   per each four (4) hour period, or major fraction thereof, worked.

   2           66.     Moreover, Defendants willfully required, suffered and permitted Plaintiff and the oth'er
                                                                                                             ~
   3   class members to work during what should have been their rest periods. Defendants also failed to

   4   relieve Plaintiff and the other class members of all duties for ten (10) minutes as required for compliant

   5 ~ rest breaks.

   6           67.     As a result, Plaintiff worked through rest periods, took late rest periods, took

   7   interrupted rest periods, and/or took short rest periods, if at all.

   8           68.     Pursuant to the applicable IWC Wage Order and California Labor Code section

   9   226.7(b), Plaintiff and the other class members were entitled to recover from Defendants one (1)

  10   additional hour of pay at their regular hourly rate of compensation for each workday that compliant

  11   rest period(s) were not provided.

  12           69.     Defendants had no policy or practice to pay a premium when rest periods were missed,

  13   short, late, and/or interrupted, or otherwise failed to comply with Califomia law, and thus Defendants

  14   failed to pay Plaintiff and the other class members the full rest period premium due to them in violation

  15   of Califomia Labor Code section 226.7 and the applicable IWC Wage Order.

  16           70.      Pursuant to the applicable IWC Wage Orders and California Labor Code section

  17   226.7(c), Plaintiff and the other class members are entitled to recover from Defendants one additional

  18   hour of pay at their regular rate of compensation for each workday complaint rest period(s) were not

  19   provided as well as interest thereon.

  20                                         FIFTH CAUSE OF ACTION

  21                   VIOLATION OF CALIFORNIA LABOR CODE §§ 204 AND 210

  22                             Failure to Timely Pay Wages During Employment

  23                                           (Against All Defendants)

  24           71.     Plaintiff incorporates by reference the allegations in all preceding paragraphs.

  25           72.     California Labor Code section 204 provides that all wages earned by any person in any

  26   employment between the 1 st and 15th days, inclusive, of any calendar month, other than those wages

  27 I ~ due upon termination of an employee, are due and payable between the 16th and 26th day of the month
  28   during which the labor was performed.


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       1,           73.     California Labor Code section 204 provides that all wages earned by any person in any

       2    employment between the 16th and the last day, inclusive, of any calendar month, other than those

       3    wages due upon termination of an employee, are due and payable between the 1 st and the l 0th day of

       4    the following month.

       5            74.     California Labor Code section 204 provides that all wages earned for labor in excess

       6    of the normal work period shall be paid no later than the payday for the next regular payroll period.

       7            75.    As a result of the violations set forth in detail above (failure to pay minimum wages,

       8    failure to pay overtime, meal break violations, rest break violations, and failure to pay any

       9    remuneration, wages, pay, or monies as they became due, e.g., accrued gratuities, bonuses,

      10    commissions, etc.), Defendants intentionally and willfully failed to timely pay Plaintiff and other class

      11    members all wages due to them within the period permissible under Califomia Labor Code section

      12    204.

      13            76.    Plaintiff and other class members are entitled to recover all available remedies for

      14 l Defendant's violations of California Labor Code section 204, including statutory penalties pursuant to

      15    Labor Code section 210(b).

      16                                        SIXTH CAUSE OF ACTION

      17                            VIOLATION OF LABOR CODE SECTION 226(a)

      18                               Failure to Provide Accurate Wage Statements

      19                                           (Against All Defendants)

      20            77.    Plaintiff incorporates by reference the allegations in all preceding paragraphs.

      21            78.    At all material times set forth herein, California Labor Code section 226(a) provides

      22    that every employer shall furnish each of its employees an accurate itemized wage statement in writing,

      23    including, but not limited to, the name and address of the legal entity that is the employer, total hours

      24    worked, and all applicable hourly rates.

•     25           79.     As a result of the violations set forth in detail above (failure to pay minimum wages,

      26    failure to pay overtime, meal break violations, rest break violations, and failure to pay any

      27    remuneration, wages, pay, or monies as they became due, e.g., accrued gratuities, bonuses,

      28    commissions, etc.), Defendants intentionally and willfully failed to provide Plaintiff and the other class



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   1   members with complete and accurate wage statements. The deficiencies include, among other things,

   2   the failure to state all hours worked, the failure to state the actual gross wages earned, the failure to

   3   include meal and rest break premiums, and the failure to include correct rates of pay. Accordingly,

   4   Defendants violated California Labor Code 226(a).

   5          80.     As a result of Defendants' violation of California Labor Code section 226(a), Plaintiff

   6   and the other class members have suffered injury and damage to their statutorily protected rights.

   7          81.     Specifically, Plaintiff and the other class members have been injured by Defendants'

   8   intentional violation of California Labor Code section 226(a) because they were denied both their legal

   9   right to receive, and their protected interest in receiving, accurate, itemized wage statements under

  10   California Labor Code section 226(a). In addition, because Defendants failed to provide the accurate

  11   number of total hours worked on wage statements, Plaintiff and the other class members have been

  12   prevented by Defendants from determining if all hours worked were paid and the extent of the

  13   underpayment. Plaintiff had to file this lawsuit, and will further have to conduct discovery, reconstruct

  14   time records, and perform computations in order to analyze whether in fact Plaintiff and the other class

  15   members were paid correctly and the extent of the underpayment, thereby causing Plaintiff to incur

  16   expenses and lost time. Plaintiff would not have had to engage in these efforts and incur these costs

  17   had Defendants provided the accurate number of total hours worked. This has also delayed Plaintiff s

  18   ability to demand and recover the underpayment of wages from Defendants.

  19          82.     Plaintiff and the other class members are entitled to recover from Defendants the

  20   greater of their actual damages caused by Defendants' failure to comply with Califomia Labor Code

  21   section 226(a), or an aggregate penalty not exceeding four thousand dollars ($4,000).

  22                                    SEVENTH CAUSE OF ACTION

  23                   VIOLATION OF LABOR CODE SECTIONS 201, 202, AND 203

  24                                       Final Wages Not Timely Paid

  25                                         (Against All Defendants)

  26          83.     Plaintiff incorporates by reference the allegations in all preceding paragraphs.

  27          84.     Pursuant to Califomia Labor Code sections 201, 202, and 203, Defendants are required

  28   to timely pay all earned and unpaid wages to an employee who is discharged. California Labor Code



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   1   section 201 mandates that if an employer discharges an employee, the employee's wages accrued and

   2   unpaid at the time of discharge are due and payable immediately. California Labor Code section 202

   3   mandates that if an employee quits, his or her wages shall become due and payable not later than

   4   seventy-two (72) hours thereafter, unless the employee has given seventy-two (72) hours' notice of

   5   his or her intention to quit, in which case the employee is entitled to his or her wages at the time of

   6   quitting.

   7           85.     California Labor Code section 203 provides that if an employer willfully fails to pay,

   8 ~ in accordance with Califomia Labor Code sections 201 and 202, any wages of an employee who is

   9   discharged or who quits, the wages of the employee shall continue as a penalty from the due date

  10   thereof at the same rate until paid or until an action therefore is commenced; but the wages shall not

  11   continue for more than thirty (30) days.

  12           86.     As a result of the violations set forth in detail above (failure to pay minimum wages,

  13   failure to pay overtime, meal break violations, rest break violations, and failure to pay any

  14   remuneration, wages, pay, or monies as they became due, e.g., accrued gratuities, bonuses,

  15   commissions, etc.), at the time that Plaintiff and the other class members' employment with

  16   Defendants ended, Defendants knowingly and willfully failed to pay them all wages owed

  17   to them pursuant to California Labor Code sections 201 and 202, including, without limitation,

  18   minimum wages or regular rate/straight time wages, overtime wages, meal period premium wages,

  19   rest period premium wages, and all remuneration, wages, pay, or monies due to Plaintiff and class

  20   members (e.g., accrued gratuities, bonuses, commissions, etc.), as required per California Labor Code

  21   sections 204.

  22          87.      As a result, Plaintiff and the other class members are entitled to all available

  23   statutory penalties, including the waiting time penalties provided in Califomia Labor Code section

  24   203, together with interest thereon, as well as other available remedies.

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   1                                      EIGHTH CAUSE OF ACTION

   2                     VIOLATION OF LABOR CODE SECTIONS 2800 AND 2802

   3                              Failure to Reimburse Necessary Business Expenses

   4                                          (Against All Defendants)

   5          88.     Plaintiff incorporates by reference the allegations in all preceding paragraphs.

   6          89.     Pursuant to California Labor Code sections 2800 and 2802, an employer must

   7   reimburse its employees for all necessary expenditures incurred by the employee in direct consequence

   8   of the discharge of his or her job duties or in direct consequence of his or her job duties or in direct '

   9   consequence of his or her obedience to the directions of the employer.

  10          90.     Plaintiff and the other class members incurred necessary business-related expenses and

  11   costs that were not fully reimbursed by Defendants, including, but not limited to the usage of personal

  12   cell phones/internet usage for work-related purposes, laptops, and vehicles for work related purposes.

  13          91.     Defendants intentionally and willfully failed to reimburse Plaintiff and the other class

  14   members for all necessary business-related expenses and costs. Plaintiff and the other class members

  15   are entitled to recover from Defendants their business-related expenses and costs incurred during the

  16   course and scope of employment, plus interest accrued from the date on which Plaintiff and the other

  17   class members incurred the necessary expenditures at the same rate as judgments in civil actions in

  18   the State of California.

  19                                       NINTH CAUSE OF ACTION

  20                   VIOLATION OF CAL. BUS. & PROF. CODE §§ 17200 ET. SEQ.

  21                                   Unfair and Unlawful Business Practices

  22                                          (Against All Defendants)

  23          92.     Plaintiff incorporates by reference the allegations in all preceding paragraphs.

  24          93.     Each and every one of Defendants' acts and omissions in violation of the California

  25   Labor Code and/or the applicable IWC Wage Order as alleged in this Complaint including but not

  26   limited to Defendants' failure and refusal to pay minimum wages or regular rate/straight time wages,

  27   Defendants' failure and refusal to pay overtime compensation, Defendants' failure and refusal to

  28   provide required meal periods and/or pay meal period premiums, Defendants' failure and refusal to



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   1   provide required rest periods and/or pay the required rest break premiums, Defendants' failure to

   2   timely pay wages at the correct rate during employment, Defendants' failure and refusal to fumish

   3   accurate itemized wage statements, Defendants' failure and refusal to reimburse business-related

   4   expenses, and Defendants' failure to timely pay wages upon termination constitutes an unfair and

   5   unlawful business practice under California Business and Professions Code § 17200 et seq.

   6           94.      Defendants' violations of California wage and hour laws constitute an unfair and

   7   unlawful business practice because. Among other things, they were done repeatedly over a significant

   8   period of time, and in a systematic manner, to the detriment of Plaintiff and the other class members.

   9           95.      Defendants have avoided payment of minimum wages, regular rate/straight time

  10   wages, overtime wages, meal period premiums, rest period premiums, timely wages at the correct rate

  11   of pay, and other benefits as required by the California Labor Code, the California Code of

  12   Regulations, and the applicable IWC Wage Order. Further, Defendants have failed to record, report,

  13   and pay the correct sums of assessment to the state authorities under the California Labor Code and

  14   other applicable regulations.

  15           96.      As a result of Defendants' unfair and unlawful business practices, Defendants have

  16   reaped unfair and illegal profits during Plaintiff and the other class members' tenure at the expense of

  17   Plaintiff, the other class members, and members of the public. Defendants should be made to disgorge

  18   their ill-gotten gains and to restore them to Plaintiff and the other class members.

  19           97.      Defendants' unfair and unlawful business practices entitle Plaintiff and the other class

  20   members to seek preliminary and permanent injunctive relief, including but not limited to orders that

  21   Defendants account for, disgorge, and restore to Plaintiff and the other class members the wages and

  22   other compensation unlawfully withheld from them. Plaintiff and the other class members are entitled

  23   to restitution of all monies to be disgorged from Defendants in an amount according to proof at the

  24   time of trial.

  25                                          PRAYER FOR RELIEF

  26           Plaintiff, on behalf of all others similarly situated, prays for relief and judgment against

  27 ~ Defendants, jointly and severally, as follows:
  28   ///



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   1                                              Class Certification
   2           1.      That this action be certified as a class action;

   3           2.      That Plaintiff be appointed as the representative of the Class;

   4           3.      That counsel for Plaintiff be appointed as Class Counsel; and

   5'          4.      That Defendants provide to Class Counsel the names and most current/last known

   6    contact information (address, e-mail and telephone numbers) of all class members.

   7                                       As to the First Cause of Action

   8           5.      That the Court declare, adjudge, and decree that Defendants violated California Labor

   9    Code sections 1194, 1197, and 1197.1 by willfully failing to pay minimum wages to Plaintiff and the

  10    other class members;

  11           6.      For general unpaid wages and such general and special damages as may be appropriate;

  12           7.      For statutory wage penalties pursuant to California Labor Code section 1197.1 for

  13    Plaintiff and the other class members in the amount as may be established according to proof at trial;

  14           8.      For pre-judgment interest on any unpaid compensation from the date such amounts

  15    were due;

  16           9.      For reasonable attorneys' fees and costs of suit incurred herein pursuant to California

  17    Labor Code section 1 1 94(a);

  18           10.     For liquidated damages pursuant to Califomia Labor Code section 1194.2;

  19           11.     For such other and further relief as the Court may deem just and proper.

  20                                      As to the Second Cause of Action

  21           12.     That the Court declare, adjudge and decree that Defendants violated California Labor

  22    Code sections 510 and 1198 and applicable IWC Wage Orders by willfully failing to pay all overtime

  23    wages due to Plaintiff and the other class members;

  24           13.     For general unpaid wages at overtime wage rates and such general and special

  25    damages as may be appropriate;

  26           14.    For pre-judgment interest on any unpaid overtime compensation commencing from

  27    the date such amounts were due;

  28           15.    For reasonable attorneys' fees and costs of suit incurred herein pursuant to California



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   1 l Labor Code section 1194;
   2          16.     For such other and further relief as the Court may deem just and proper.

   3                                     As to the Third Cause of Action
   4          17.     That the Court declare, adjudge and decree that Defendants violated California Labor

   5   Code sections 226.7 and 512 and applicable IWC Wage Orders by willfully failing to provide all meal

   6   periods, (including second meal periods) to Plaintiff and the other class members;

   7          18.     For premium wages pursuant to Califomia Labor Code section 226.7(c);

   8          19.     For all actual, consequential, and incidental losses and damages, according to proof;

   9          20.     For pre-judgment interest on any unpaid wages from the date such amounts were due;

  10          21.     For reasonable attorneys' fees and costs of suit incurred herein;

  11          22.     For such other and further relief as the Court may deem just and proper.

  12                                     As to the Fourth Cause Action

  13          23.     That the Court declare, adjudge and decree that Defendants violated Califomia Labor

  14   Code section 226.7 and applicable IWC Wage Orders by willfully failing to provide all rest periods to

  15   Plaintiff and the other class members;

  16          24.     For premium wages pursuant to California Labor Code section 226.7(c);

  17          25.     For all actual, consequential, and incidental losses and damages, according to proof;

  18          26.     For pre-judgment interest on any unpaid wages from the date such amounts were due;

  19          27.     For such other and further relief as the Court may deem just and proper.

  20                                     As to the Fifth Cause of Action

  21          28.     That the Court declare, adjudge and decree that Defendants violated California

  22   Code section 204 by willfully failing to pay all compensation owed at the time required by Cal

  23   Labor Code section 204 to Plaintiff and the Class;

  24          29.     For statutory penalties pursuant to Califomia Labor Code section 210;

  25          30.     For such other and further relief as the Court deems just and proper.

  26                                     As to the Sixth Cause of Action
  27          31.     That the Court declare, adjudge and decree that Defendants violated the provisions of

  28   California Labor Code section 226(a) and applicable IWC Wage Order as to Plaintiff and the other



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   1 I I class members, and willfully failed to provide accurate itemized wage statements to them;
   2           32.    For actual, consequential and incidental losses and damages, according to proof;

   3           33.    For statutory penalties pursuant to Califomia Labor Code section 226(e);

   4           34.    For injunctive relief to ensure compliance with this section, pursuant to

   5   California Labor Code section 226(g);

   6           35.    For such other and further relief as the Court may deem just and proper.

   7                                    As to the Seventh Cause of Action

   8           36.    That the Court declare, adjudge and decree that Defendants violated California Lal

   9   Code sections 201, 202, and 203 by willfully failing to pay all compensation owed at the time

  10   termination of the employment of Plaintiff and the other class members no longer employed

  11   Defendants;

  12           37.    For all actual, consequential, and incidental losses and damages, according to proof;

  13           38.    For statutory wage penalties pursuant to Califomia Labor Code section 203 for Plaintifl

  14   and the other class members who have left Defendants' employ;

  15           39.    For pre-judgment interest on any unpaid compensation from the date due;

  16           40.    For such other and further relief as the Court may deem just and proper.

  17                                     As to the Eighth Cause of Action

  18           41.    That the Court declare, adjudge, and decree that Defendants violated California Labor

  19   Code sections 2800 and 2802 by willfully failing to reimburse Plaintiff and the other class members

  20   for all necessary business-related expenses as required by California Labor Code sections 2800 and

  21   2802;

  22           42.    For actual, consequential and incidental losses and damages, according to proof;

  23           43.    For the imposition of civil penalties and/or statutory penalties;

  24           44.    For reasonable attorneys' fees and costs of suit incurred herein; and

  25           45.    For such other and further relief as the Court may deem just and proper.

  26                                     As to the Ninth Cause of Action

  27           46.    That the Court declare, adjudge and decree that Defendants violated the following

  28   California Labor Code sections as to Plaintiff and the other class members: 1194, 1197, and 1 197.1



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   1   (by failing to pay minimum wages); 510 and 1198 (by failing to pay overtime wages); 226.7 and 512(a)
   2   (by failing to provide meal and rest periods or compensation in lieu thereof); 204 (by failing to timely
   3   pay wages during employment); 226(a) (by failing to provide accurate wage statements); and 201,
   4   202, and 203 (by failing to pay all wages owed upon termination); and 2800 and 2802 (by failing to

   5   reimburse business-related expenses);

   6          47.     For restitution of unpaid wages to Plaintiff and all the other class members and all pre-

   7   judgment interest from the day such amounts were due and payable;

   8          48.     For the appointment of a receiver to receive, manage and distribute any and all funds

   9   disgorged from Defendants and determined to have been wrongfully acquired by Defendants as a

  10   result of violation of California Business and Professions Code sections 17200, et seq.;

  11          49.     For reasonable attorneys' fees and costs of suit incurred herein pursuant to Califomia

  12   Code of Civil Procedure section 1021.5; and

  13          50.     For injunctive relief to ensure compliance with this section, pursuant to California
  14   Business and Professions Code sections 17200, et seq.
                                                                              •
  15
  16   DATED: January 17, 2024                       BLACKSTONE LAW, APC
  17
  18                                                 By:     ~'"
                                                            Jonathan M. Genish, Esq.
  19                                                        Barbara DuVan-Clarke, Esq.
                                                            Alexander K. Spellman, Esq.
  20                                                        P.J. Van Ert, Esq.
  21                                                         Attorneys for Plaintiff
  22                                                         NICOLE A. WILLIAMS, individually and on
                                                             behalf of others similarly situated
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   1                                    DEMAND FOR JURY TRIAL

   2         Plaintiff hereby demands ajury trial with respect to all issues triable of right by.
                                                                                                jury.
   3

   4   DATED: January 17, 2024                      BLACKSTONE LAW,               C
   5                                                                     ~l l


                                                   By:
   6
                                                           Jonathan M. Genish, Esq.
   7                                                       Barbara DuVan-Clarke, Esq.
                                                           Alexander K. Spellman, Esq.
   8                                                       P.J. Van Ert, Esq.
   9
                                                            Attorneys for Plaintiff
  10                                                        NICOLE A. WILLIAMS, individually and on
                                                            behalf of others similarly situated
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                                         SU M MO N S                                                                          FOR COURT USE ONLY
                                                                     `                                                    (SOLO PARA USO DE LA CORTE)
                                  (CITACION
                                   y  I M   ,Y JUDICIAL)
                                                   li M J
                                                                                                                    Electronically FILED by
NOTICE TO DEFENDANT:                                                                                                Superior Court of California,
(AVISO AL DEMANDADO):                                                                                               County of Los Angefes
                                                                                                                    1/18/2024 9:32 PM
EUROMARKET DESIGNS, INC. DBA CB2 AND CRATE & BARREL AND CRATE & KIDS AND                                          l David W. Slayton,
HUDSON GRACE; and DOES 1 through 25, inclusive,                                                                   l Executive Officer/Cierk of Court,
                                                                                                                    By J. Covarrubias, Deputy Clerk
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
NICOLE A. WILLIAMS, individually and on behalf of others similarly situated,

                                           may decide against you without your being heard unless you

   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   rved on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   se. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   dine Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
   urt clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
    taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   erral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   ;se nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
   ww.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   sts on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
    VISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la infom~aci6n a

    Tiene 30 DIAS DE CALENDARIO despubs de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no !o protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos fonnularios de /a corte y mbs informaci6n en el Centro de Ayuda de /as Cortes de Califomia (www. sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de Ia corte que
 fe d6 un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrb
 quitar su sueldo, dinero y bienes sin más advertencia.
    Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (wwtv.lawhelpcalifornia.org), en e/ Centro de Ayuda de las Cortes de Califomia, (www.sucorte.ca.gov) o ponitindose en contacto con la corte o el
 colegio de abogados locales. AVIS0: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,000 6 mbs de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                    CASE NUMBER: (NGmero del Caso):
(El nombre y direcci6n de Ia corte es): Stanley Mosk Courthouse
111 N. Hili St., Los Angeles, CA 90012                                                                   24STC/Ci1                           4lE3
                                                                                  Darid ri. Sl~tan, E~€ecutive 0fficerlClerk of Court
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el numero
de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Jonathan M. Genish, Blackstone Law, APC, 8383 Wilshire Blvd., Suite 745, Beverly Hills, California 90211, (310) 622-4278
DATE: a1/1812Q24                                                              Clerk, by                                          , Deputy
(Fecha)                                                                       (Secretario)     J. CO1rSrr[J~1iSS                 (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                 NOTICE TO THE PERSON SERVED: You are served
                                     1.          as an individual defendant.
                                     2. 0        as the person sued under the fictitious name of (specify):
                                                                         EUROMARKET DESIGNS, INC. DBA CB2 AND CRATE & BARREL
                                     3. [        on behalf of (specify): AND CRATE & KIDS AND HUDSON GRACE
                                        under: [~] CCP 416.10 (corporation)                                 0      CCP 416.60 (minor)
                                                    CCP 416.20 (defunct corporation)                        0      CCP 416.70 (conservatee)
                                                    CCP 416.40 (association or partnership)                 0      CCP 416.90 (authorized person)
                                                    other (specify):
                                     4.      by personal defivery on (date):
                                                                                                                                                         Page 1 of 1
Form Adopted far Mandatory Use
Judicial Council of Califomia                                            SUMMONS                                              Code of Civll Procedure §§ 412.20, 465
                                                                                                                                                 www.courts.ca.gov
SUM-100 [Rev. July 1. 2009]
  Case 2:24-cv-02932-SPG-MAR                                    Document 1-1                  Filed 04/11/24                Page 30 of 92 Page
                                                                     ID #:44


 ATTORNEY OR PARTY 1MTHOUT ATTORNEY (Name, State Barnumber, and address):
 Jonathan M. Genish (SBN 259031); Barbara DuVan-Clarke (SBN 259268);                                                           FORCOURTUSEONLY

 Alexander K. Spellman (SBN 250398); P.J. Van Ert (SBN 234858)
 Blackstone Law, APC, 8383 Wilshire Blvd., Suite 745, Beverly Hills, CA 90211
 TELEPHONENO.: (310) 622-4278                FAXNO.: (855) 786-6356                                                 ElectronicaltyFILEDby
 EMAILADDRESS: bdc@blackstonepc.com; aspeliman@blackstonepc.com; pjvanert@b]ackstonepc.com                          Superior Court of California,
 ATTORNEY FOR (Name): Plaintiff Nicole A. WIIIIamS
                                                                                                                    County of Los Angeles
                                                                                                                    1J`Z$/Z0Z4 9 32 PM
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                David W. Slayton,
     STREETADDRESS: 111 N. HIII Street                                                                              Executive 0fficer/Clerk of Court,
  MAILINGADDRESS: 111 N. Hill Street                                                                                ByJ. Covarrubias, Deputy Clerk

 CITYANDZIPCODE: Los AngeleS, 90012
       BRANCH NAME: Stanley (1/IO$k Courthouse

 CASE NAME:
  Nicole A. Williams v. Euromarket Designs, Inc. et al.

           CIVIL CASE COVER SHEET              l     Complex Case Designation                                 CASENUMBER:
 0         Unlimited        0 Limited             0      Counter         [jjjj Joinder                           2 48'T              C.'        O-1 4               3
           (Amount            (Amount
                                                 Filed with first appearance by defendant                     JUDGE:
           demanded           demanded is
           exceeds $35,000)   $35,000 or less)       (Cal. Rules of Court, rule 3.402)                        DEPT.:


  1. Check one box below for the case type that best describes this case:
       Auto Tort                                            Contract                                      Provisionally Comptex Civil Litigation
             Auto (22)     •
                                                           ~      Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
             Uninsured motorist (46)                              Rule 3.740 collections (09)                    Antitrust/Trade regulation (03)
       Other PI/PD/WD (Personal Injury/Property                   Other collections (09)                  0      Construction defect (10)
                                                           LI
       DamagelWrongful Death) Tort                                                                               Mass tort (40)
                                                                  Insurance coverage (18)
              Asbestos (04)                                                                                      Securities litigation (28)
                                                                   Other contract (37)                    0
              Product liability (24)
                                                           Real Property                                  0     Environmental/Toxic tort (30)
              Medical malpractice (45)                                                                    0     Insurance coverage claims arising from the
                                                                   Eminent domain/Inverse
       ~      Other PI/PDM(D (23)                                 condemnation (14)                             above listed provisionally complex case
                                                                                                                types (41)
       Non-PIIPDMID (Other) Tort                         Q    Wrongful eviction (33)                      Enforcement of Judgment
              Business torUunfair business practice (07) 0    Other real property (26)
                                                                                                          [jjjjjjj] Enforcement of judgment (20)
              Civil rights (08)                          Unlawful Detainer
                                                                                                          Miscellaneous Civil Complaint
              Defamation (13)                            ~    Commercial (31)
                                                                                                                 RICO (27)
              Fraud (16)                                   0      Residential (32)
                                                                                                                  Other complaint (not specified above) (42)
              Intellectual property (19)                   0      Drugs (38)
                                                                                                          Miscellaneous Civil Petition
              Professional negligence (25)                 Judicial Review
                                                                 Asset forfeiture (05)                            Partnership and corporate governance (21)
            Other non-PI/PD/WD tort (35)
       Employment                                                 Petition re: arbitration award (11)     0      Other petition (not specified above) (43)
              Wrongful termination (36)                    0      Writ of mandate (02)
       ffl    Other employment (15)                               Otherjudicial review (39)
¿.   I nis case U      Is    U      is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
    a. 0      Large number of separately represented parties       d. ffl    Large number of witnesses
    b.        Extensive motion practice raising difficult or novel e.       Coordination  with related actions pending in one or more
              issues that will be time-consuming to resolve                 courts in other counties, states, or countries, or in a federal
                                                                            court
    c. ffl     Substential amount of documentary evidence
                                                                   f. 0      Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. ffl        monetary b. x0 nonmonetary; declaratory or injunctive relief c. 0          punitive
4. Number of causes of action (specify): 9
 5. This case x0 is          0      is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-01.5.)
Date: January 17, 2024
Jonathan M. Genish                                                                                                ~
                               TYPE OR PRINT NAME)                                                      SIGNATUB OF 4R        OR ATTORNEY FOR PARTY)
                                                                               NOTICE
 •     Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions.
 •    File this cover sheet in addition to any cover sheet required by local court rule.
 •    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
      the action or proceeding.
 •    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.              Page 1 of 2
Form Adopted for Mandatory Use                                                                                     Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of Califamia                                  CIVIL CASE COVER SHEET                                      Cal. Standards of Judicial Administration. std. 3.10
CM--010 [Rev. January 1, 2024]
                                                                                                                                                           www.couris.ca.gov
  Case 2:24-cv-02932-SPG-MAR                            Document 1-1                 Filed 04/11/24            Page 31 of 92 Page
                                                             ID #:45


                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                    Contract
                                                                                                   Provisionally Complex Civil Litigation (Cal.
            (22)—Personal Injury/Property          Breach of Contract/Warranty (06)                Rules of Court Rules 3.400- 3.403)
           Damage/Wrongful Death                       Breach  of Rental/Lease                            AntitrustfTrade Regulation (03)
         Uninsured Motorist (46) ('if the                   Contract (not unlawful detainer               Construction Defect (10)
        case involves an uninsured                              orwrongful eviction)
                                                                                                          Claims Involving Mass Tort (40)
        motorist c!aim subject to                      ContractNVarranty Breach—Seller                    Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud ornegligence)            EnvironmentallToxic Tort (30)
        instead ofAuto)                                Negligent  Breach    of Contract/                  Insurance Coverage Claims
  Other PI/PDIWD (Personal In•u    1 ry!                    Warranty                                            (arising from provisionally complex
  Property Damage/Wrongful Death) Tort                 Other Breach of ContractMJarranty                        case type listed above) (41)
      Asbestos (04)                                Collections (e.g.,  money   owed, open          Enforcement      of Judgment
         Asbestos Property
                       P rty Dama9   ge                book  accounts)   (09)                           Enforcement of Judgment (20)
       Asbestos Personal In•u                         Collection Case—Seller Plaintiff
                                1 rY/                                                                     Abstract of Judgment (Out of County)
             Wrongful Death                           Other Promissory Note/Collections Case
                                                                                                       Confession of Judgment (non-domestic
    Product Liability (not asbestos or            Insurance Coverage (notprovisionally                    relations)
        toxic%nvironmental) (24)                      complex) (18)
                                                                                                       Sister State Judgment
     Medical Malpractice (45)                         Auto Subrogation                                 Administrative Agency Award
         Medical Malpractice—                         Other Coverage
                                                                                                           (nof unpaid taxes)
               Physicians & Surgeons              Other Contract (37)                                  Petition
                                                                                                                 /Certification of Entry of
     Other Professional Health Care                   Contractual Fraud
                                                                                                            Judgment on Unpaid Taxes
            Malpractice                               Other Contract Dispute
                                                                                                       Other Enforcement of Judgment Case
    Other PI/PD/WD (23)                        Real Property
                                                                                                    Miscellaneous Civil Complaint
         Pre isesfallabi[ity (e.g., slip          Eminent Domain/Inverse
                                                                                                       RICO (27)
               and     )                              Condemnation (14)
                                                                                                       Other Complaint (not specified above) (42)
         Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)
                                                                                                             Declaratory Relief Only
               (e.g., assault, vandalism)         Other Real Property
                                                                  P rtY (e.g., quiet title) (26)             Injunctive Relief Only (non-
         Intentional Infliction of                    Writ of Possession of Real Property
                                                                                                                  harassment)
               Emotional Distress                     Mortgage Foreclosure
                                                                                                             Mechanics Lien
         Ne9li9ent Infliction of                      Quiet Title
                                                                                                             Other Commercial Complaint
               Emotional Distress                     Other Real Property (not eminent
                                                                                                                  Case (non-tort/non-complex)
         Other Pl/PD/WD                               domain, landlord/tenant, or
                                                                                                             Other Civil Complaint
 Non-PIIPDMID (Other) Tort                            foreclosure)
                                                                                                                  (non-tort/non-comp/ex)
    Business TorVUnfair Business               Unlawful Detainer
                                                                                                    Miscellaneous Civil Petition
        Practice (07)                             Commercial (31)
                                                                                                       Partnership and Corporate
    Civil Rights (e.g., discrimination,           Residential (32 )
                                                                                                            Govemance (21)
          false arrest) (not civil                Drugs (38) (rf the case involves itlegal
                                                                                                       Other Petition (not specified above) (43)
          harassment) (0S)                        drugs, check this item; othenvise,
                                                                                                            Civil Harassment
    Defamation (e.9•~ slander,(13) libel)         reportasCommercialorResidentialJ
                                                                                                            Workplace Violence
    Fraud (16)                                 Judicial Review
                                                                                                            Elder/Dependent Adult Abuse
    Intellectual Property                         Asset Forfeiture (05)
                                                                                                            Election Contest
                      P ~ (19) (25)
    Professional Negligence                       Petition Re: Arbitration Award(11)
                                                                                                            Petition for Name Change
       Legal Malpractice                          Writ of Mandate(02)
                                                                                                            Petition for Relief From Late Claim
        Other Professional Malpractice                Writ—Administrative Mandamus
                                                                                                            Other Civil Petition
             (not medical orlegal)                    Writ—Mandamus on Limited Court
    Other Non-PI/PD/WD Tort (35)                         Case Matter
 Employment                                           Writ—Other Limited Court Case Review
    Wrongful Termination (36)                     Other Judicial Review (39)
    Other Employment (15)                             Review of Health Officer Order
                                                      Notice of Appeal—Labor Commissioner

CM-010 [Rev. January 1, 2024]                                                                                                             Page 2 of 2
                                                         CIVIL CASE COVER SHEET
 Case 2:24-cv-02932-SPG-MAR                                        Document 1-1                 Filed 04/11/24                      Page 32 of 92 Page
                                                                        ID #:46

 SHORT TITLE                                                                                                              CASE NUMBER
Nicole A. Williams v. Euromarket Designs, Inc. et al.                                                                         2 48T                    O'1 4Ei 3

                        CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                  (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

          This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.



                                      Applicable Reasons for Choosing Courthouse Location (Column C)
 1.       Class Actions must be filed in the Stanley Mosk Courthouse, Central District.        7.        Location where petitioner resides.

 2.       Permissive filing in Central District.                                               8.        Location wherein defendant/respondent functions wholly.

 3.       Location where cause of action arose.                                                9.        Location where one or more of the parties reside.

 4.       Location where bodily injury, death or damage occurred.                              10.       Location of Labor Commissioner Office.

 5.       Location where performance required, or defendant resides.                           11.       Mandatory filing location (Hub Cases — unlawful detainer, Iimited
                                                                                                         non-collection, limited collection).
 6.       Location of property or permanently garaged vehicle.




                                      A                                                              B                                                          C
                           Civil Case Cover                                                Type of Actiori .                                            Applicable
                           Sheet Case Type :                                              (check only orie}                                            Reasons (see
                                                                                                                                                       Step 3 above)
                                 Auto (22)             ❑ 2201 Motor Vehicle — Personal Injury/Property Damage/Wrongful                                        1, 4
                                                       Death

      2                   Uninsured Motorist           El 4601 Uninsured Motorist— Personal Injury/Property                                                   1, 4
      Q                          (46)                  Damage/Wrongful Death

                            Other Personal             El 2301 Premise Liability (e.g., dangerous conditions of property,                                     1, 4
  • >•                     Injury/ Property            slip/trip and fall, dog attack, etc.)
    d .c                  Damage/ Wrongful
   a o                        Death (23)               ❑ 2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                        1, 4
                                                       (e.g., assault, battery, vandalism, etc.)

      c o                                              El 2303 Intentional Infliction of Emotional Distress                                                   1, 4

          —                                            El 2304 Other Personal Injury/Property Damage/Wrongful Death                                           1, 4
      i m
                                                       ❑ 2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                                      1, 4
  L p~                                                 Facility                       •
  O                                                    ❑    2306 Intentional Conduct—Sexual Abuse Case (in anyform)                                           1, 4



LASC CIV 109 Rev. 01/23                              CIVIL CASE COVER SHEET ADDENDUM                                                              LASC Local Rule 2.3
For Mandatory Use                                          AND STATEMENT OF LOCATION
 Case 2:24-cv-02932-SPG-MAR                          Document 1-1               Filed 04/11/24         Page 33 of 92 Page
                                                          ID #:47

 SHORT TITLE                                                                                  CASE NUMBER
 Nicole A. Williams v. Euromarket Designs, Inc. et al.


                           A                                                      B                                         C
                   Civil Case Cover                                        Type of Action.                            Applicable_
                   Sheet Case Type                                        (check only one)                           Reasons (see
                                                                                                                     Step 3 above)
                                           ❑   2307 Construction Accidents                                       .        1, 4

                                           ❑   2308 Landlord —Tenant Habitability (e.g., bed bugs, mold, etc.)             1,, 4
   -.             Product Liability (24)   ❑   2401 Product Liability (not asbestos ortoxic/ environmental)                1, 4
         vs
   ~— E
      ( o
        °                                  ❑ 2402 Product Liability Song-Beverly Consumer Warranty Act (CA
                                                                      -
                                                                                                                         1 3 5
                                                                                                                          ''
    v o -                                  Civil Code §§1790-1795.8) (Lemon Law)
   a A`~
   a u o          Medical Malpractice      ❑   4501 Medical Malpractice — Physicians & Surgeons                            1, 4
   a o 3                 (45)
   p     a                                 ❑   4502 Other Professional Health Care Malpractice                            1, 4
                   Business Tort (07)      ❑ 0701 Other Commercial/Business Tort (not fraud or breach of                 1, 2, 3
              «
              d                            contract)

   - .              Civil Rights (08)      ❑   0801 Civil Rights/Discrimination                                          1, 2, 3
    c a~ ,~
    N o             Defamation (13)        ❑ 1301Defamation (slander/libel)                                              1, 2, 3
            t'
   a . ° °             Fraud (16)          ❑   1601 Fraud (no contract)                                                  1, 2, 3
   c ~3
   o 3_ ~            Professional          ❑ 2501 Legal Malpractice                                                      1, 2, 3
   ~ .E~            Negligence (25)
                                           ❑ 2502 Other Professional Malpractice (not medical or legal)                  1, 2, 3
                       Other (35)          ❑ 3501 Other Non-Personal Injury/Property Damage Tort                         1, 2, 3
                      Wrongful             ❑ 3601 Wrongful Termination                                                   1, 2, 3
   a~i             Termination (36)
   E              Other Employment         O 1501 Other Employment Complaint Case
                                                                                                                        ~©
   a                      (15)
   ,L                                      ❑ 1502 Labor CommissionerAppeals                                                10

                  Breach of Contract /     ❑ 0601 Breach of Rental/Lease Contract (not unlawful detainer or                2, 5
                     Warranty (06)         wrongful eviction)
                    (not insurance)
                                           ❑ 0602 Contract/Warranty Breach — Seller Plaintiff (no                          2, 5
                                           fraud/negligence)
                                           ❑   0603 Negligent Breach of Contract/Warranty (no fraud)                     1, 2, 5
                                           ❑   0604 Other Breach of Contract/Warranty (no fraud/ negligence)             1, 2, 5
   ~
                                           ❑   0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)                 2, 5
   -
                    Collections (09)       ❑   0901 Collections Case — Seller Plaintiff                                 5, 6, 11
   u
                                           ❑ 0902 Other Promissory Note/Collections Case                                  5, 11
                                           ❑ 0903 Collections Case — Purchased Debt (charged off consumer debt          5, 6, 11
                                           purchased on or after January 1, 2014)
                                           ❑ 0904 Collections Case —COVID-19 Rental Debt                                  5, 11
                  Insurance Coverage       ❑ 1801Insurance Coverage (not complex)                                       1, 2, 5, 8
                         (18)



LASC CIV 109 Rev. 01/23                    CIVIL CASE COVER SHEET ADDENDUM                                       LASC Local Rule 2.3
For Mandatory Use                            AND STATEMENT OF LOCATION
 Case 2:24-cv-02932-SPG-MAR                         Document 1-1             Filed 04/11/24        Page 34 of 92 Page
                                                         ID #:48

 SHORT TITLE                                                                                CASE NUMBER
 Nicole A. Williams v. Euromarket Designs, Inc. et al.


                           A                                                  B                                      C
                   Civil Case Cover                                     Type of Action                         Applicable
                   Sheet Case Type                                     (check only one) :                     Reasons (see
                                                                                                              Step 3 above)
                  Other Contract (37)     ❑   3701 Contractual Fraud                                            1, 2, 3, 5
                                          ❑   3702 Tortious Interference                                         11 2I 3I 5
                                          ❑   3703 Other Contract Dispute (not breach/insurance/fraud/          1, 2, 3, 8, 9
                                          negligence)
                  Eminent Domain/         ❑   1401Eminent Domain/Condemnation                                       2, 6
                      Inverse                                                     Number of Parcels
                 Condemnation (14)
   v              Wrongful Eviction       ❑   3301 Wrongful Eviction Case                                           2, 6
   o                   (33)
   a                 Other Real           ❑   2601 Mortgage Foreclosure                                             2, 6
                    Property (26)         ❑   2602 Quiet Title                                                      2, 6
                                          ❑ 2603 Other Real Property (not eminent domain,                           2, 6
                                          landlord/tenant, foreclosure)
                 Unlawful Detainer        ❑ 3101 Unlawful Detainer — Commercial (not drugs or wrongful             6, 11
                 —Commercial (31)         eviction)
                 Unlawful Detainer        ❑ 3201 Unlawful Detainer— Residential (not drugs or wrongful             6, 11
                 —Residential (32)        eviction)
                 Unlawful Detainer        ❑   3401 Unlawful Detainer— Post Foreclosure                           2, 6, 11
                 — Post Foreclosure
   c                    (34)
   =             Unlawful Detainer        ❑   3801 Unlawful Detainer— Drugs                                       2, 6, 11
                    — Drugs (38)
                  Asset Forfeiture        ❑   0501 Asset Forfeiture Case                                          2, 3, 6
                         (05)
                     Petition re          ❑   1101 Petition to Compel/Confirm/Vacate Arbitration                    2, 5
                   Arbitration (11)
   a3i            Writ of Mandate         ❑   0201 Writ —Administrative Mandamus                                    2, 8
                        (02)              ❑   0202 Writ— Mandamus on Limited Court Case Matter                       2
   f0                                     ❑   0203 Writ — Other Limited Court Case Review                            2
                    Other Judicial        ❑   3901 Other Writ/Judicial Review                                       2, 8
                    Review (39)
                                          ❑   3902 Administrative Hearing                                           2, 8

                                          ❑   3903 Parking Appeal                                                   2, 8

  >                Antitrust/Trade        ❑   0301 Antitrust/Trade Regulation                                     1, 2, 8
  ~ ~ o            Regulation (03)
                    Asbestos (04)         ❑   0401 Asbestos Property Damage                                        1, 11
   >
         U ~
          J                               ❑   0402 Asbestos Personal Injury/Wrongful Death                          , 11



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 SHORT TITLE                                                                            CASE NUMBER
 Nicole A. Williams v. Euromarket Desi ns Inc. et al.


                          A                                                 B                                          C
                  Civil.Case Cover. .                   .....       Type.of Action                              Applicable
                  Sheet Case Type                                 .(check only one)                            Reasons (see
                                                                                                               Step 3 above)
                   Construction          ❑   1001 Construction Defect                                             1, 2, 3
                    Defect (10)
   a             Claims Involving        ❑   4001 Claims Involving Mass Tort                                      1, 2, 8
   E              Mass Tort (40)
   8            Securities Litigation    ❑   2801 Securities Litigation Case                                      1, 2, 8
   T                    (28)
   ~*—' °
   O ~ CJ            Toxic Tort          ❑   3001 Toxic Tort/Environmental                                       1, 2, 3, 8
                 Environmental (30)
   °            Insurance Coverage       ❑   4101Insurance Coverage/Subrogation (complex case only)              1, 2, 5, 8
                    Claims from
                 Complex Case (41)
                  Enforcement of         ❑   2001 Sister State Judgment                                           2, 5, 11
   o               Judgment (20)
                                         ❑ 2002 Abstract of Judgment                                                  2, 6
   ~ w
                                         ❑   2004 Administrative Agency Award (not unpaid taxes)                      2, 8

                                         ❑   2005 Petition/Certificate for Entry of Judgment Unpaid Tax               2, 8
   W

                                         ❑   2006 Other Enforcement of Judgment Case                              2, 8, 9

  ~                   RICO (27)          ❑   2701 Racketeering (RICO) Case                                        1, 2, 8
  u    y         Other Complaints        ❑   4201 Declaratory Relief Only                                         1, 2, 8
                  (not specified
                                         El 4202 Injunctive Relief Only (not domestic/harassment)                     2, 8
   c a             above) (42)
  .! E                                   ❑ 4203 Other Commercial Complaint Case (non-                             1, 2, 8
      0
     °                                   tort/noncomplex)

                                         ❑   4204 Other Civil Complaint (non-tort/non-complex)                    1, 2, 8
                    Partnership          ❑   2101 Partnership and Corporation Governance Case                         2, 8
                   Corporation
   o              Governance (21)
                   Other Petitions       ❑   4301 Civil Harassment with Damages                                   2, 3, 9
  ~                (not specified
                                         ❑   4302 Workplace Harassment with Damages                               2, 3, 9
                    above) (43)
  y                                      ❑   4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3, 9
                                         ❑   4304 Election Contest                                                t    2
                                         ❑   4305 Petition for Change of Name/Change of Gender                        2, 7
   u
  ~                                      ❑   4306 Petition for Relief from Late Claim Law                         2, 3, 8
                                         ❑   4307 Other Civil Petition                                                2, 9




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For Mandatory Use                         AND STATEMENT OF LOCATION
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 SHORT TITLE                                                                        CASE NUMBER
 Nicole A. Williams v. Euromarket Designs, Inc. et al.


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No address required for class action cases.)

 REASON:                                                             ADDRESS:
 ❑ 1. ❑ 2. ❑ 3. ❑ 4. ❑ 5. ❑ 6. ❑ 7. ❑ 8. ❑ 9. ❑ 10. ❑ 11                        23410CivicCenterWaySuiteA-1


 CITY:                                  STATE:           ZIP CODE:
 Malibu                                 CA               90265

Step 5: Certification of Assignment: I certify that this case is properly filed in the            Central
District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
Rule 2.3(a)(1)(E)]                             .

Dated: Jarivary 17, 2024
                                                                           (SIGNATR
                                                                                 U OF ATTORNEY/FILING PARTY

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE:

    1. Original Complaint or Petition.
    2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       Civil Case Cover Sheet Judicial Council form CM-010.
    4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (01/23).
    5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
    6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
       petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
    7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
       addendum must be served along with the Summons and Complaint, or other initiating pleading in the
       case.




LASC CIV 109 Rev. 01/23                 CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
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                             Superior Court of California, County of Los Angeles
          »_...> .



                                 ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                        INFORMATION PACKAGE
  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PART1' WITH THE CONIpLAiiV-i'.

   CROSS-COMPLA{NANTS must serve this ADR Information Package on any new parties named to the acticn with the
   cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference orcomFsuter, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   •   Saves Time: ADR is faster than going to trial.
       Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
       Keeps Control (with the parties): Parties choose their ADR process and provider forvoluntary ADR.
       Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    •  Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    •  No Public Trial: ADR does not provide a public trial or decision by a judge orjury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate fortheir clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlernent agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                     Mediation may be appropriate when the parties
                       •    want to work out a solution but need help from a neutral person.
                       •    have communication problems or strong emotions that interfere with resolution.

                     Mediation may not be appropriate when the parties
                       •    want a public trial and want a judge or jury to decide the outcome.
                       •    lack equal bargaining power or have a history of physical/emotional abuse.




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                              How to Arrange Mediation in Los Angeles County

    Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

        a. The Civil Mediation Vendor Resource List
           If all parties in an active civil case agree to mediation, they may contact these organizations to
           request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
           cases).

            •    ADR Services, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
                (213)683-1600
            •   Mediation Center of Los Angeles Program Manager info@mediationLA.org
                (833)476-9145

            These organizations cannot accept every case and they may decline cases at their discretion.
            They may offer online mediation by video conference for cases they accept. Before contacting
            these organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

            NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
            or small claims cases.

        b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
           mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
           harassment, and limited civil (collections and non-collection) cases.
           https://dcba.lacounty.Rov/countywidedrp/

            Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
            should carefully review the Notice and other information they may receive about (ODR)
            requirements for their case. https://my.lacourt.org/odr/

        c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

    3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
       arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
       decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a trial
       after the arbitrator's decision. For more information about arbitration, visit
       https://www.courts.ca.gov/programs-adr.htm

    4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
       to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
       settlement officer who does not make a decision but who instead assists the parties in evaluating
       the strengths and weaknesses of the case and in negotiating a settlement. For information about
       the Court's MSC programs for civil cases, visit https://www.lacourt.org/division/civil/CIQ047,aspx

    Los Angeles Superior Court ADR website: https://www.lacourt.org/division/civil/CI0109.aspx
    For general information and videos about ADR, visit http:/lwww.courts.ca.gov/programs-adr.htm




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        •:'     •        Superior Court of California, County of Los Angeles
  ~;,:~,~~~~•'




                                ALTERNATIVE DiSPUTE RESOLUTION (ADR)
                                       INFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this.ADR lnformation Package on any new parties named to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   •   Saves Time: ADR is faster than going to trial.
    •         Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
    •         Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
    •         Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
    •         Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    •         No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR

    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                      Mediation may be appropriate when the parties
                        •    want to work out a solution but need help from a neutral person.
                        •    have communication problems or strong emotions that interfere with resolution.
                      Mediation may not be appropriate when the parties
                        •    want a public trial and want a judge or jury to decide the outcome.
                        •    lack equal bargaining power or have a history of physical/emotional abuse.



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                                   How to Arrange Mediation in Los AngelesCounty

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
               If all parties in an active civil case agree to mediation, they may contact these organizations
               to request a "Resource List Mediatiori" for mediation at reduced cost or no cost (for selected
               cases).

                   •      ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                   •      Mediation Center of Los Angeles Program Manager info@mediationLA.org
                          (833) 476-9145



      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.iacourt.org/ADR,Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
               https://hrc.lacounty..p,ov/wo-content/upioads/2020/05/DRP-Fact-Sheet-23OctobPrl9-Current-as-of-October-2019-2 pdf

               Dayof trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully reviewthe Notice and other information they may receive about (ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but Iike trial, the parties present evidence and
      argumentsto the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial afterthe arbitrator'sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.ore/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/proerams-adr.htm


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                                  VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

      ~~" ~~
                      '              The Early Organizational Meeting Stipulation, Discovery
                                  Resolution Stipulation, and Motions in Limine Stipulation are
  Superior Court of California,   voluntary stipulations entered into by the parties. The parties
  County of Los Angeles

                                  may enter into one, two, or all three of the stipulations;
                                  however, they may not alter the stipulations as written,
                                  because the Court wants to ensure uniformity of application.
  Los Angeles County
  Bar Association                 These stipulations are meant to encourage cooperation
  Litigation Section

  Los Angeles County
                                  between the parties and to assist in resolving issues in a
  Bar Association Labor and
  Employment Law Section          manner that promotes economic case resolution and judicial
                                  efficiency.
         . aa:~,•.
           ~..
  ~~                                 • The    following organizations    endorse    the   goal of
  Consumer Attorneys
  Association of Los Angeles      promoting efficiency in litigation and ask that counsel
                                  consider using these stipulations as a voluntary way to
                                  promote communications and procedures among counsel
                                  and with the court to fairly resolve issues in their cases.

                                  ♦ Los Angeles County Bar Association Litigation Section♦
  Southem Califomia
  Defense Counsel

                                              ♦ Los Angeles County Bar Association
                                                Labor and Employment Law Section♦
             AlkiiR

  Association of
  Business Trial Lawyers              ♦ Consumer Attorneys Association of Los Angeles♦


                                             ♦ Southern California Defense Counsel♦
  ~`~ ~►

                                             ♦ Association of Business Trial Lawyers♦
          CELA .'~
  California Employment
  Lawyers Association
                                       ♦ California Employment Lawyers Association♦


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     LASC Approved 4-11
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUf ATTORNEY:                STATE BAR NUMBER                         Reserved far Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO. (OpSonal):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:


                                                                                                       CASE NUMBER:
           STIPULATION - EARLY ORGANIZATIONAL MEETING

       This stipulation is intended to encourage cooperation among the parties at an early stage in
       the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow Ieave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");                '

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment,• or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as

      LASC Approed 04/15>                STIPULATION - EARLY ORGANIZATIONAL MEETING
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   SHORT TITLE:                                                                      CASE NUMBER:




                  discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                  complaint;

         h. Computation of damages, including documents, not privileged or protected from disclosure, on
            which such computation is based;

         i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
            www.lacourt.org under "Civif' and then under "General lnformation").
   2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                  to                         for the complaint, and                            for the cross-
                           (INSERT DATE)                                       (INSERT DATE)
                  complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                  and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                  been found by the Civil Supervising Judge due to the case management benefits provided by
                  this Stipulation. A copy of the General Order can be found at www.lacourt.orp under "Civif',
                  click on "General lnformation", then click on "Voluntary Efficient Litigation Stipulations".

   3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                  and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                  results of their meet and confer and advising the Court of any way it may assist the parties'
                  efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                  the Case Management Conference statement, and file the documents when the CMC
                  statement is due.

   4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
                  any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                  for performing that act shall be extended to the next Court day

   The following parties stipulate:
   Date:
                                                                   h
                     (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
   Date:
                                                                    ➢
                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:
                                                                    ➢
                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:
                                                                    ➢

                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:
                                                                    ➢
                     (TYPE OR PRINT NAME)                                  (ATTORNEY FOR                         )
   Date:
                                                                    ➢
                     (TYPE OR PRINT NAME)                                  (ATTORNEY FOR                         )
   Date:
                                                                    ➢
                     (TYPE OR PRINT NAME)                                  (ATTORNEY FOR                         )


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NAME AND ADDRESS OF ATTORNEY OR PARTY WRHOUTATTORNEY:                 STATE BAR NUMBER                         Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:


                                                                                                      CASE NUMBER:
                    STIPULATION - DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                 a. The party requesting the Informal Discovery Conference will:

                            File a Request for Informal Discovery Conference with the clerk's office on the
                            approved form (copy attached) and deliver a courtesy, conformed copy to the
                            assigned department;

                    ii.     Include a brief summary of the dispute and specify the relief requested; and

                   iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                            that ensures that the opposing party receives the Request for Informal Discovery
                            Conference no later than the next court day following the fiiing.

                 b. Any Answer to a Request for Informal Discovery Conference must:

                            Also be filed on the approved form (copy attached);

                            Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                    STIPULATION - DISCOVERY RESOLUTION
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   SHORT TRLE:                                                                  CASE NUMBER:




                 iii.   Be filed within two (2) court days of receipt of the Request; and

                 iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                        method of service that ensures that the opposing party receives the Answer no
                        later than the next court day following the filing.

        c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
           be accepted.

        d. If the Court has not granted or denied the Request for Informal Discovery Conference
           within ten (10) days following the filing of the Request, then it shall be deemed to have
           been denied. If the Court acts on the Request, the parties will be notified whether the
           Request for Informal Discovery Conference has been granted or denied and, if granted,
           the date and time of the Informal Discovery Conference, which must be within twenty (20)
           days of the filing of the Request for Informal Discovery Conference.

        e. If the conference is not held within twenty (20) days of the filing of the Request for
           Informal Discovery Conference, unless extended by agreement of the parties and the
           Court, then the Request for the Informal Discovery Conference shall be deemed to have
           been denied at that time.

   4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
      without the Court having acted or (c) the Informal Discovery Conference is concluded without
      resolving the dispute, then a party may file a discovery motion to address unresolved issues.

   5. The parties hereby further agree that the time for making a motion to compel or other
      discovery motion is tolled from the date of filing of the Request for Informal Discovery
      Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
      filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
      by Order of the Court.

        It is the understanding and intent of the parties that this stipulation shall, for each discovery
        dispute to which it applies, constitute a writing memorializing a "specific later date to which
        the propounding [or demanding or requesting] party and the responding party have agreed in
        writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
        2033.290(c).

   6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
      an order shortening time for a motion to be heard concerning discovery.

   7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
      terminate the stipulation.

   8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
      any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
      for performing that act shall be extended to the next Court day.



   LACIV 036 (new)
   LAsc ApproVed 04/11            STIPULATION - DISCOVERY RESOLUTION
   For Optional Use                                                                                Page 2 of 3
Case 2:24-cv-02932-SPG-MAR               Document 1-1       Filed 04/11/24        Page 46 of 92 Page
                                              ID #:60

   3HORT TITLE:                                                          CASE NUMBER:




   The following parties stipulate:

   Date:
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR PLAINTIFF)
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR DEFENDANT)
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR DEFENDANT)
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR DEFENDANT)
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                         (ATrORNEY FOR
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                         (ATTORNEY FOR                             )
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                         (ATTORNEY FOR                             )




  ' ,... Print.             Save.~                                                                .Clea~


   LACIV 036 (new)
   LASC Approved 04/11           STIPULATION - DISCOVERY RESOLUTION
   For Optional Use                                                                                Page 3 of 3
Case 2:24-cv-02932-SPG-MAR                              Document 1-1                 Filed 04/11/24       Page 47 of 92 Page
                                                             ID #:61



NAME AND ADDRESS OF ATTORNEY OR PARTY WRHOUrATTORNEY:                 STATE BAR NUMBER                         Reserved for Clerk's File Stamp




         TELEPHONE NO.:                                 FAX NO. (Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:

                                                                                                      CASE NUMBER:
                     INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
             ❑      Request for Informal Discovery Conference
             ❑      Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                    (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference:                                                (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         tne requestea aiscovery, incivaing tne tacts ana iegai arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                             INFORMAL DISCOVERY CONFERENCE
      For O tional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)
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Case 2:24-cv-02932-SPG-MAR                                Document 1-1                 Filed 04/11/24      Page 48 of 92 Page
                                                               ID #:62




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                         Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:


                                                                                                        CASE NUMBER:
              STIPULATION AND ORDER - MOTIONS IN LIMINE


      This stipulation is intended to provide fast, and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and Iimit paperwork.


      The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. AII proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      LASC Approved 04l11              STIPULATION AND ORDER - MOTIONS IN LIMINE
      For Optional Use                                                                                                                Page 1 of 2
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                                              ID #:63

   SHORT TITLE:                                                         CASE NUMBER:




   The following parties stipulate:

   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                              (ATTORNEY FOR PLAINTIFF)
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                             (ATTORNEY FOR DEFENDANT)
   Date:

                  (TYPE OR PRINT NAME)                             (ATTORNEY FOR DEFENDANT)
   Date:

                  (TYPE OR PRINT NAME)                             (ATTORNEY FOR DEFENDANT)
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                         (ATTORNEY FOR                      )
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                         (ATTORNEY FOR                      )
   Date:
                                                        ➢
                  (TYPE OR PRINT NAME)                         (ATTORNEY FOR



   THE COURT SO ORDERS.

     Date:
                                                                        JUDICIAL OFFICER




   LAC~v o~e (new)
   LASC Approved04/11       STIPULATION AND ORDER - MOTIONS IN LIMINE                      Page 2 of 2
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                                             ID #:64




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                              ~OR TIEICE-OO~U~+dT~ ~DF LOS.AitGELES.

    GeneraI CJrder Re                              ) ORDER:PURSUANi' TO CcP 9 t354(a),
    Use of Voluntary Efficjent Litigation         }, EXTEND1NG TIN(E TO RESP.C)N(J BY
    Stipulat~orrs                                 .)     DAYS WHEN PARTIES.-AGREE
                                                   )  TO  EARLY t3RGANIZ:ATIGNIAL
                                                   ): !VlEEI'ING STlPl1,LAT1C7N


           Whereas the. Los Fingeles. S.upersor Gourt_and            Exeuutiv+s Gmittee of the
              Section of the: Los Arygeles County Bar Association:.have co.operated in
             °1l.,oluritary:Efticient Litigation Stipu9ations" and in proposirtg; fha..stappulations for
    use'in gerteral jurisdiction civilJitigation irw:Los Angeles Courity,
           tttlhereas the Los Angefes:Caunty Bar Association LEtigatiort Sectiart; the'L~:os
    Angedes County Bar Associaticin Labor;and Errtploymerìt Law Section, the Consumer
    4ttordeys Assncia#ton of.l.os }~ngo{es;.~te,Associatiorl ~~~aut~art~ Galrf~mia .DeFense
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    Employment Lawyers Association a[I"`endotse #hie-gnal of promcfing: efficiancy in
                   ,
      ~t:andask ti,rat.counsel conizider using these.stipulations"as. ava)uritar.y way to
   I prorrtote.communications and procedures amnng ccurtsel and'with the:cnurt.to fairly
   l resoive:iss.ues in their cases;"



                                QRDEIt PURSUANT TC3 CCP 1t},54(a)
Case 2:24-cv-02932-SPG-MAR               Document 1-1        Filed 04/11/24      Page 51 of 92 Page
                                              ID #:65




               Whereas the Ear9y Organizational Meeting Stipulation is intended to encourage
       ~ cooperation among the parties at an early stage in iitigation in order to achieve
       iitigatio n efficfencies;
               Whereas it is intended •that use of the Early Organizational Meeting Stipulation
       will promote economic case resolution and judiciai efficiency;
               Whereas, in order to promote a rneaningful discussion of pleading issues at the

       f Eariy Organizational Meeting and potentiaily to reduce the need for• rnotions fio
       challenge the pleadings, it is necessary to aliow additionai time to conduct the Ear1y
       Organizati'onal "Meeting before. the tirne to respond to a compiaint or cross complaint

       • has expited;.
               Vtrher..eas Code of Civii. Procedure section 1 054(a} alfows a judge of the court in

       I which arl actioh is pending to axtend for not more than 30 days.the time to respond to
       :a pleading: "upon-good cause shown";
               Now; therefore, this Court hereby finds: that there i's gaod cause to extend for 30
       days the tirï. to. respond to a' compiaint or to a cross cornplaint in any action En Which
       the 'partie;; have entered into the Early Organizational Meating Stipulation. This finding
       of'gocd cause is based on the anticipated jud(cial efficiency and benefits of economic
 •z1
       case resolution that the Eariy Organizational Meeting Stipulation is intended to
:22
       prornote.
23
24-
               tT IS`. HEREBY ORDERED that, lr4 any case in which the.parties have entered

~           án Early Organizational Meeting atipuiation, the tirne:for a defending party to
2s, •respond•to a compiaint crr cro:ss complaint shall he.extended by th.e:3g days permitted
 27

:2$

                                                    -2-

                                   O.RDER PURSUANT TC3 CCP 1054(a~
Case 2:24-cv-02932-SPG-MAR            Document 1-1          Filed 04/11/24     Page 52 of 92 Page
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        Coode af;Civil. Procedure.seetion 1.054(a) wit~iaut further heed of a speci ic court

      order.
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      ow~o     ~-Ä) Ji                                                 d
                                                        B. K.uh1 Supervising Judge of the
                                                        partrrints, Los, Angeles.Supe i~r court




                                                 -3-

                               ORDEI~ PT JItSCTANT`TO:. CCP 1:054(a)
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                                                                                         Superior Court of Califlbrnia
         1                                                                                 County of Los Angeles
         2                                                                                  N1AY' 03 2019
         3                                                                           S)ari` ai ter, F.t . ttwe OfftteclCler~
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         4

         5
                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
         6
                                               FOR THE COUNTY OF LOS ANGELES
         7

          8       IN RE LOS ANGELES SUPERIOR COURT)                 FIRST AMENDED GENERAL ORDER
                 - MANDATORY ELECTRONIC FILING )
          9      FOR CIVIL                        )
        10
        11
        12 ''           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
        13 : documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
        14 : Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
        15 ' Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
        16 ' All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
        17       following:
        18       1) DEFINITIONS
        19 ;         a) "Eookpnark" A bookmark is a PDF document navigational tool that allows the reader to
        20              quickly locate and navigate to a designated point of interest within a document.
        21           b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
        22 ;.           portal, that gives litigants access to the approved Electronic Filing Service Providers.

f~ Y`
        23.          c) "Electronic Envelope" A transaction through the electronic service provider for submission
        24;...          of documents to the Court for processing which may contain one or more PDF documents
        25 : '          attached.
        26       '   d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
        27              document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
        28


                                    FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                         2019-GEN-U14-00


 1            e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
 2                   person or entity that receives an electronic filing from a party for retransmission to the Court.
 3               In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
 4                   agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
 51           f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
 6;                  Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
 H                   (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
 8                   2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9                   process attached to or logically associated with an electronic record and executed or adopted
10                   by a person with the intent to sign the electronic record.
11            g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12                   in a hypertext or hypermedia document to another in the same or different document.
13            h) "Portable Document Format" A digital document format that preserves all fonts,
14                   formatting, colors and graphics of the original source document, regardless of the application
15                   platform used.
16      2) MANDATORY ELECTRONIC FILING
17            a) Trial Court Records
18                   Pursuant to Government Code section 68150, trial court records may be created, maintained,
19                   and preserved in electronic format. Any document that the Court receives electronically must
20                   be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21                   official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22            b) Represented Litigants
23                   Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24•                  electronically file documents with the Court through an approved EFSP.
25      •c)          Public Notice
26                   The Court has issued a Public Notice with effective dates the Court required parties to
27 ''                electronically file documents through one or more approved EFSPs. Public Notices containing
28                   effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.ora.

                 .                                              .     2.
        ...
                                FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:24-cv-02932-SPG-MAR                     Document 1-1          Filed 04/11/24      Page 55 of 92 Page
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                                                                                                   2019-GEN-0 14-00



 1          d) Documents in Related Cases
 ~             Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3             electronic filing has been implemented in that case type, regardless of whether the case has
 4             been related to a Civil case.
 5 l 3) EXEMPT LITIGANTS
 6          a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
 7             from mandatory electronic filing requirements.
 8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10             from filing documents electronically and be permitted to file documents by conventional
11             means if the party shows undue hardship or significant prejudice.
12     4) EXEMPT FILINGS
13          a) The following documents shall not be filed electronically:
14             i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                    Civil Procedure sections 170.6 or 170.3;
16             ii)    Bonds/Undertaking documents;
17             iii)   Trial and Evidentiary Hearing Exhibits
18             iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                    that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20,.           v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                    electronically filed. A courtesy copy of the electronically filed motion or application to
22                    submit documents conditionally under seal must be provided with the documents
23                    submitted conditionally under seal.
24          b) Lodgments
25             Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26          er form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27     //

28     //

                                                                 3
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1: 5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
 2         Electronic filing service providers must obtain and manage registration information for persons
 3         and entities electronically filing with the court.
 4       6) TECHNICAL REQUIREMENTS
 5         a) Electronic documents must be electronically filed in PDF, text searchable format when
 6             technologically feasible without impairment of the document's image.
 7         b) The table of contents for any filing must be bookmarked.
 8         c) Electronic documents, including but not limited to, declarations, proofs of service, and
 9             exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10             3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11             item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12 '           bookedmarked item and briefly describe the item.
13         d) Attachments to primary documents must be bookmarked. Examples include, but are not
14             limited to, the following:
15 `           i)     Depositions;
16             ii)    Declarations;
17             iii)   Exhibits (including exhibits to declarations);
18             iv)    Transcripts (including excerpts within transcripts);
19             v)     Points and Authorities;
20             vi)    Citations; and
21             vii) Supporting Briefs.
22         e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23             encouraged.
24         f) Accompanying Documents
25 :           Each document acompanying a single pleading must be electronically filed as a separate
26 : :         digital PDF document.
27         g) Multiple Documents
28             Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                            4
                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                        2019-GEN-014-00



 1        h) Writs and Abstracts
 2           Writs and Abstracts must be submitted as a separate electronic envelope.
 3'_      i) Sealed Documents
 4,:         If and when a judicial officer orders documents to be filed under seal, those documents must be
 5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
 6:          the documents as sealed at the tiine of electronic submission is the submitting party's
 7           responsibility.
 8'       j) Redaction
 9"          Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10           redact confidential information (such as using initials for names of minors, using the last four
11 "         digits of a social security number, and using the year for date of birth) so that the information
12           shall not be publicly displayed.
13      7) ELECTRONIC FILING SCHEDULE
14        a) Filed Date
15           i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16 ;                   shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17                     document received electronically on a non-court day, is deemed to have been effectively
18 ,'                  filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19.                    Civ. Proc. § 1010.6(b)(3).)
20           ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21                     course because of: (1) an interruption in service; (2) a transmission error that is not the
22                     fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23                     order, either on its own motion or by noticed motion submitted with a declaration for Court
24                     consideration, that the document be deemed filed and/or that the document's filing date
25                     conform to the attempted transmission date.
26      8) EX PARTE APPLICATIONS
27 .      a) Ex parte applications and all documents in support thereof must be electronically filed no later
28           than 10:00 a.m. the court day before• the ex parte hearing.
              ..   .
                                                               5    `•
                              FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1       b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
 2           day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
 3           application must be provided to the court the day of the ex parte hearing.
 4   9) PRINTED COURTESY COPIES
 5       a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
 6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
 7           the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
 8           by 10:00 a.m. the next business day.
 9       b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10          electronic submission) is required for the following documents:
11           i)   Any printed document required pursuant to a Standing or General Order;
12          ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                pages or more;
14         iii)   Pleadings and motions that include points and authorities;
15         iv)    Demurrers;
16          v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17          vi)   Motions for Summary Judgment/Adjudication; and
18 11,     vii)   Motions to Compel Further Discovery.
19       c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20          additional documents. Courtroom specific courtesy copy guidelines can be found at
21          www.lacourt.org on the Civil webpage under "Courtroom Information."
22       WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23       a) Fees and costs associated with electronic filing must be waived for any litigant who has
24          received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25          1010.6(d)(2).)
26       b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27          section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28          electronically filed in any authorized action or proceeding.

                                                            6
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                     2019-GEN-014-00



           1) SIGNATURES ON ELECTRONIC FILING
              For purposes of this General Order, all electronic filings must be in compliance with California
              Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
              Division of the Los Angeles County Superior Court.


 6=               This First Amended General Order supersedes any previous order related to electronic filing,
 7         and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
 8: Supervising Judge:and/or Presiding Judge.


10         DATED: May 3, 2019            p̀~            li
                                                        .y~                          d
                                       ~                  ~,,   KEVI[`3 C. BRAZILE
11
                                                                Presiding Judge
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                             FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                              Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                       ~F1E
                                                                                                         FILED
 Spring Street Courthouse                                                                     ~              m~~~~~~~
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                    O1f18/2G2'
                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                               CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 24STCV01463

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE              DEPT      ROOM                  ASSIGNED JUDGE                     DEPT             ROOM
    /    William F. Highberger              10




    Given to the Plaintiff/Cross-Complainant/Attomey of Record   David W. Slayton, Executive Officer / Clerk of Court
    on 01/19/2024                                                       By J. Covarrubias                                   , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
  Case 2:24-cv-02932-SPG-MAR                         Document 1-1              Filed 04/11/24            Page 61 of 92 Page
                                                          ID #:75

                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
 for your assistance.
APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.
PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.
CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
A11 complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
STATUS CONFERENCE '
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionallv Comnlex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of Califomia Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
retumed to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:24-cv-02932-SPG-MAR               Document 1-1        Filed 04/11/24          Page 62 of 92 Page
                                              ID #:76

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                                                                                             02/01/2024
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 3

 4                         StTPERI(3R COURT OF THE STATE OF CALIFORNIA
 5                                 FOR THE COUNTY OF LOS AN+GELES
 6

 71
                                                           Case No. 24STCVt}1463
 8    NICOLE A. WILLIAMS,
                                                           INITIAL STATUS CONFERENCE ORDER
 9                                                         (COMPLEX CLASS ACTIONS)
10                                 Plaintiff,              Case Assigned for AII Purposes to
11           ~
                                                           Judge William F. Highberger

12                                                         Department: SS1(}
      EUROMARKET DESIGNS, INC.                             Date: 04/15/2024
13                                                         Time: 11:04 AM
                                   Defendant.
14
15
16
17           This Initial Status Conference Order (Complex Class Actions) supplements a Minute
18 Order served concurrently herewith. That Minute Order sets a date and time for the Initial
19    Status Conference and includes many other important provisions which are NOT repeated in
20    Order. Counsel must review that Minute Order carefully to be fully informed of your
21    obligations and the unique processes used in the Los Angeles Superior Court Complex
22    Courtrooms.
23
             Note: Some provisions of this Order are in reference to wage-and-bour class actions and
24
      may not be applicable to other types of class actions. Insofar as they are irrelevant to your case,
25
      say so in your Joint Initial Status Conference Response Statement.
26
             Pending further order, the following is ordered:
27
28
                                                       1
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                                                ID #:77




             The court orders counsel to prepare for the Initial Status Conference ("ISC") by identifying and
 1

 2   discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to initiate

 3 ~ contact with counsel for defense to begin this process. Counsel then must negotiate and agree, as much

 4   as possible, on a case management plan. To this end, counsel must file a Joint Tnitial Status Conference ~
 5
     ~Response Statement five (5) court days before the Initial Status Conference. The Joint Response
 6
     ~Statement must be filed on line»numbered pleading paper and must specifically answer each of the
 7
     below-numbered questions. Do not use the Judicial Council Form CM-110 (Case Nlanagement
 8
     Statement).
 9

10 l 1. PARTIES AND COUNSEL: Please list all presently-natned class representatives and presently-
11       named defendants, togetber with all counsel of record, including counsel's contact and email
12       information.
13
     2. STATUS OF 1'LEADINGS: Please indicate whether defendant has filed a Notice of Appearamce
14
         or an Answer to the C'.ornplaint, and, Ff so; indicate the filing date(s).
15
     3. POTENTLAL ADDITIONAL PARTIES: Indicate whether any plaintiffpresently intends to add
16
17       additional class representatives, and, if so, the name(s) and date by which these class representatives

13       will be added. Indicate whether any plaintiff presently intends to nanre additional defendants, and, i
19       so, the name(s) and date by which the defendant(s) will be added. Indicate whether any appearing
20       defendant presently intends to file a cross-complaint and, if so, the names of cross-defendants and
21
         the date by which the cross-complaint will be fsled.
22
     4. I14O.'ROPERLY NAMED DEFENDANT(S): If the complaint names the wrong person or entity,
23
         please explain ,why the named defendant is improperly named and the proposed procedure to correct
24

25       this error.
26   5. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): lf any party believes one or
27       nuxe named plaintiffs might not be an adequate class representative, including reasons of conflict of
28
                                                            ~
Case 2:24-cv-02932-SPG-MAR                 Document 1-1          Filed 04/11/24       Page 64 of 92 Page
                                                ID #:78




         interest as described in Apple Computer v. Superior Court (2005) 126 Ca1.App.4 1253, please
 1
 2       explain. No prejudice wi11 attach to these responses.

 3 6. ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.
 4 , 7. OTHER ACTIONS WITH OVERLAPPING CLASS llEFI1VITIONS: Please list other
                                                                                                         cases
 5       with overlapping class definitions. Please identify the court, the short caption title, the docket
 6
         number, and the case status.
 7
      S. POTENTIALLY RELEVANT ARBITRATION ANDIOR CLASS ACTION WAIVER
 8
 9       CLAI7SES: Please state whether arbitration is an issue in this case and attach a sample of any

10       relevant clause of this sort. Opposing parties must surnrnarize their views on this issue.
11    9. POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel should identify and describe
12       the significant core issues in the case, and then identify efficient ways to resolve those issues,
13
         including one or more of the following:
1dt
         •   Motion to Compel Arbitration,
15
         • Early motions in limine,
16
17       ■ Early motions about particular jury instructions and verdict forms,

18       • Demurrers,
19       ■ Motions to str'ske,
20       ■ Motions for judgment on the pleadings, and
21
         ■ Motions for summary judgment and summary adjudication.
22
      10. CLASS CONTACT INFORMATION: Counsel should discuss whether obtaining class contact
23
         information from defendant' s records is necessary in this case and, if so, whether the parties
24
25       consent to an "opt-out" notice process (as approved in Belaire-West Landscape, Inc. v. Superior

26       Ciiurt (2007) 149 Cal.App.4 554, 561). Counsel should address timing and procedure, including
27       allocation of cost and the necessity of a third party adniinistrator.
28
                                                           3
Case 2:24-cv-02932-SPG-MAR                     Document 1-1       Filed 04/11/24       Page 65 of 92 Page
                                                    ID #:79




      11.. PROTECTIVE ORDERS: Parties considering an order to protect confidential information from
 1

 2        general disclosure should begin with the model protcctive orders found on the Los Angeles Superioi

 3        Court Website under "CiviI Tools for Litigators."
 4    12. IiTSCOVERY: Please discuss a discovery plan. Iftl;e parties cannot agree on a plan, summarize
 5
          each side's views on discovery. The court generally allows discovery on matters relevant to class
 6
          certification, whioh (depending on circumstanees) may include factual issues also touching the
 7
          xnerits. The court generally does not percnit extensive or expensive discovery relevant only to the
 8

 9
          merits (for example, detailed damages discovery) at the initial stage unless a persuasive showing

10        establishes early need. If any party seeks discovery from absent class members, please estimate hc

11        many, and also state the kind of discovery you proposei .
12 13. INSURANCE COVERAGE: Please state if (1) there is insnrance for indemnity orreimbursement
13
       and (2) whether there are any insurance coverage issues which rnight affect settlement.
14
   14. ALTERNATIPVE DISPUTE RESOLUTION: Please discuss ADR and state each pdrty's posYtion
15
       about it. If pertinent, how can the court help identify the correct neutral and prepare the case for a
16
17     successful settiement negotiation?

18 15. TIl'4iELINE FOR CASE                   NAOEMFI~IT: Please recornmend dates and times for the following
19         ■ The next status conference,
20         ■ A schedule for alternative dispute resolution, if it is relevant,
21
           ■ A filing deadline for the motion for class certification, and
22
           ■ Filing deadlines and descriptions for other anticipated non-discovery motions.
23'
      16. REMINDER WHEN SEEK[NG TO I?ISMISS:
24
25            "A dismissal of an entire class action, or of any party or cause of action in a class action, requi
              aoure approval. ... Requests for dismissal must be accompanied by a declaration setting forth
26            the facts on which the party relies. The declaration must clearly state whether consideration,
27
      'See California Rule of Court, Rule 3.768.
28
                                                             4
Case 2:24-cv-02932-SPG-MAR                            Document 1-1             Filed 04/11/24   Page 66 of 92 Page
                                                           ID #:80




                 direct or indirect, is being given for the disinissal and must describe the consideration in detail.'°
 1

 2          If the parties have setEled the class action, that too will require judicial approval based on a noticed

 3          motion (although it may be possible to shorten titne by consent for good cause shown).
 4    17.REIVIINT)ER WHEN SEEKING APPROVAL OF A SETTLEMENTs
 5
            Plaintiff(s) must address the issue of any fee splitting agreement in their motion for preliminary
 6
            approval and demonstrate compliance with Caiifornia R.ule of Court 3.769, and the Rules of
 7
            Professional Conduct 2-200(a) as required by Mark v Spencer (2008) 166 Cal.App. 4 219.
 8
      18.NOTICE OF THE IsC ORDER:
 9
            Plaintiff's counsel shall serve this Initial Status Conference Order on all defense counsel, or

            if counsel is not lrnovgm, on each defendant and fle a Proof of Service with the court within

            seven (7) days of the date of this Order. If the Complaint has not been served as of the date
13
            of this Order, plaintif({s) must serve the Complaint, along with a copy of this Order, witltYn
14
"1s         five (5) days of the date ofthis Order. Once served, each as yet nonappearing defendant
16          shall file a Notice of Appearance (identifying counsel by name, firm na;ne, address, email
17
            addr+ess, telephone number and fax nurnber). The filing ofa Notace of Appearance is
18
            prejudice to (a) any jurisdictional, substantive or procedural challenge to the Complaint, (b)
19
20          any affumative defense, and (c) the filing of any cross-complaint in this action.
                                                                                          •
21
      Dated: 0210112024
22                                                        ~y            e
                               ,                          •sif.rJ+ , ~~~~'I,

23                                                                          lliarn F. Hi~rhberger,t.Tud9'e
                                                                         Williarn F. Highberger
24                                                             Judge of the Los Angeles Superior Court
25
26
27
      2   CaGforni.a, Rule of Court, Rule 3.774N(a)
28
                                                                         5
Case 2:24-cv-02932-SPG-MAR               Document 1-1          Filed 04/11/24          Page 67 of 92 Page
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            SUPERIOR COURT OF CALfFORNiA                                             ~$se~~,r4~C~e~'sFileStamp
               COUNTY OF LOS ANGELES
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 312 North Spring Street, Los Angeles, CA 90012                                               fl2t0212024
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                                                                               gs.              R.APrus
Nicole A. VttiiJiams                                                                      •                 •




 DEFENDANT/RESPCNDENT:
 Euromarket Designs, Inc.
                                                                             CASE NU~ABER:
                         CERTIFICATE OF MAILING                              24STCV01463

i, the betow•named Executive t}fficerlCierk of the above-entitted court, do hereby certify that I am not a
party to the cause herein, and that on this date t served the 3t~inute Order (Court Order i;te; Initiat Status
Conterence Order) of 0210212024, tnitiat Status Conference Order upon each party or counset named below
by ptacing the docunment for coliection and maiiing so as to cause it to be deposited in the United States
maii at the courthouse in Los Angetes, Caiifornia, one copy of the original fitedlentered herein in a separate
sealed envelope to each address as shown beiow with the postage thereon fully prepaid, in accordance
with standard court practices.



    Jonathan M. Genish
    t31ackstone Law, APC
    8383 V1lilshire Boulevard
    Suite ?46
    Beverly Hills, CA 90211




                                                     David W. Slayton, Executive Officer 1 Clerk of Court
Dated: 0 512024                                      By: R. Aspiras
                                                         Deputy Clerk



                                      CERTIFICATE OF MAILING
Case 2:24-cv-02932-SPG-MAR                                 Document 1-1                     Filed 04/11/24                     Page 68 of 92 Page
                                                                ID #:82


        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                    Civil Divtsion
                                  Centrttl District, Spring Street Courthouse, Departtnent 10

   24STCV01463                                                                                                                     Fcbntary 2, 2024
   NICOLE A. WILLIAMS vs EUROMARKET DES9CNS, INC.                                                                                        10:21 Alvi


   Judge: l'tonorable Wiltiatn F. I liahberger                                  CSR: None
   .ludicial Assistant: R. Aspiras                                              ERivl: None
   Courtroom Assistant: R. Satx:hcz                                             Deputy Shcriff Nonc

   APPEA RANC f:S:
    For Plaintil(s): No Appearanccs
    For Dcfendant(s): No Appearanccs




    NATURE OF PROCEEDINGS: Couri Order Re: initial Status Confercnce Order

   By this order, the Court determines this case to be Complex according to Rule 3.400 of the
   Cali t'ornin Rttles of Court. The Clerk's Off ice has assigned this case to this departnient #r all
   purpuscs.


   Ptirsuant to Governmcnt C'odc Sections 70b) G(a) and 70616(b), a single complex iec: ofone
   thousand dollars (S l.U00.00) inust be p•aid on bchalf of all plaintiffs. For ciefcndants, a complex
   fee of oiie thousand dollars ($1,000.00) must be paid for r:nch defendant, intervenor, respondent
   or adverse party, not to cxcc;ed, for cach ;>eparate case number, a total ot'eighteen ilrousand
   dollars (S18,000.00), coticctcd from all dcfendants. intervcnors, respondcnts, or advcrsc partics.
   All such fce:; are ordered to be paid to Los Angeles Superior Court, within ten ( l a) days of
   servic:c of this order.


   By this orcl4r, the Court slays the case. except for service of the Sununons and Cotnplaint. The
   st:ay continucs at least until tlic lnitial Status Contcrence. lnitial Status Conference is set for
   04J15l2U24 at 11:UU AM in this departmcnt. At lcast ten (10) days priur to thc initirtl Status
   Confiarence. counsel for a(1 parties must discuss tlte issties set forth in the Initial Status
   Conf'crcnu: Ordcr issued this datc. Couns4l must tile a Joint Initial Status Conferens:e Rc.~sponse
   Statesnent fivc (5) court days bctorC the lnitial Status Conference.

   The lnitial Status Confercncc Order, servcd eon+ctrrcntly with this Minute Order, is to help the
   Court and thc parties nmanagc this complcx ciise by developing an ordcrly schcdulc for briefing,
   discovery, and court hearings. The parties ar+e int'onnally cncouraged to cxchange documents and
   information as may be useful i'or case evaluation.

   Responsive plcadings sllall not be filed until further +Clydcr of'the Court. Parties niust tilc a Notice
   of Appearance in lieu of'an Answer or olher responsive pleadinb. The tiling of a Notice oF
   Appearance shall not constitute a waiver ofany substantive crr procedural challcnge to the
    .------...---...__._._._....____...._...........~.__.........    _..   __..._..__.._.__..._._...__......___._......._.~-..._.__._~.   ------...~_...-~
                                                                    Minute Order                                                            Page 1 of 3
Case 2:24-cv-02932-SPG-MAR                      Document 1-1             Filed 04/11/24            Page 69 of 92 Page
                                                     ID #:83


       SUPERIUR COURT OF CALIF(.}RNIA, +COtJNTY OF LOS ANGELES
                                                   Civil I3ivision
                            Central District, Spring Street Courthouse, Departrnent 10

   24STCYOl4163                                                                                       Fcbruary 2,.2024
    NIC{"1LE A.WlLi.IAMS vs EURO141ARI{ET DESIGNS, INC.                                                  •     10:21 AM


   Judge: [lonorabie Williant F. liighberger                     CSR: None
   Jtidicial Assistant: R. Aspiras                               ERM: None
   Courtroorn Assistant: R, Sanchez                              Dcputy Shcriff: Nonc

   Cornplaint. Notliing in this ordcr stays the tintc for pling an Aftidavit of Prcjudise pursuant to
   Codc of Ctvil Proccdurc Scctinn 170.6. Nothing in thiS ordcr stitys the tiltng ofan tlmended
   Conipiaint pursuant to Labor Code Section 2fi99..3(a)(2)(C) by a plaintifCwishing to add a
   Private Attorney Gencral Act {"PACA") claim.

   For ini'orrna€ion on electronic liling in the Contplex Courts, please rei'er to
   https:/IWWw,tttt;outt.orgldivisionicfilitigfcfiling2.aspx#civil. Sce, in particular, thc link therein for
   "Coniplcx Civil cfiling." Partics shall f Ic a]1 documcnts in conformity with thcr Presiding Judgcis
   First Amended General Order oi'May 3, 2t}19, particutarly including the provisions therein
   rc<luiring 13ookrnarking with links to pritnary documents and citations; that Ordcr is availttble on
   thc Court's wcbsitc at the link shown above.

   For cf'ticicncy in commtmication witli counsel. the coinplcx prograzn rc:cluircw thc parties in etlery
   new casc to use an appr+avcd third-party cloud scrvicc that provides an cicctronic +ncssagc board.
   In order tt 1cilitate contrnunication with counsel prior to the ]nitial Status Conference, the
   parties must sign-up with the e-service prtrvider at lea5t ten ( l0) court days in advance oE'thc
   lnitial Staius Confercncc atid advisc the Court which provider was sciected.

   The coun htys itnplementcd LACouriConnect to altow attorneys, selfi-rt.~presented litigants and
   partics to mukcaudio or vidco appearances in Los Angcles County courtroanis.
   LACottrtConnect technology provide:s a secure. safe and convenient way to attend hearings
   remotely. A key element of the Court's Aceess LACourt YOUR WAY pro~,}ratn to provide
   services and ar.ccss tojusticc. LACourtConnect is intended to enhanc+e social distancing and
   change tlie traditional in-petson courtroom appearance model. See
   https:lhny.{acourt.orgllttcewetc;oine f'or niore information.

   This Cotnplex Courtroom does not use Los Angeles Superior Court's Court Reservation ("CRS")
   portal to resi,~rve tnotion hearing dates. Ratlter, counsel rnay secure dates by calling the
   Courtrootn Assistant at 213-310-70xx with thr "xx" bcing thc DcpartnYcnt nutnbcr, c.g,. Dcpt. 1
   is o l and L3ept. 10is 10.

   Court rcpottcrs are not provided fon ccrarings or trials. Thc parties sliUuld makc thcir o'.vn
   arrttngements for any Itearin}; wllere a transcript is desired.

   If you bclievc a purty or witness will nced an intcrpretct; sce the court's w,cbsitc for information
   on• how to make such a request in a tiniely nianner. https:!/www.lacourt.org,lirud/U ltindex.aspx

   _...._...     dircctcd to acccss _the
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Case 2:24-cv-02932-SPG-MAR                                        Document 1-1                         Filed 04/11/24                       Page 70 of 92 Page
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         SUPERIOR +C4URT OF CALIP+ClRNIA, COUNTY OF LOS ANGELES
                                         Civil Divisioli
                  Centrnl District, Spring Street Ccnurthouse, Department l Q

    24STCVOl46                                                                                                                                  February 2, 20?'
    NICt7LE A. WILLEAMS vs EUROMARKLT DESIGNS,INC.                                                                                                    10:21 AM

    Judge: Ilonorable William F. llighbetger                                              CSR: ìlone
    JudiciaE Assistant: R. Aspiras                                                        LRM: None:
    Courti-oom Assistant: R. Sanchcz                                                      Dcputy Shcriff Nonc

    Coirrplex litigatron Prograrn courtrctoms: https:!lwww.lacourt.orgtdivisionlcivil/CIUtl42.aspx.

    The plaintifî nmust serve a copy cti`tfus minute order and the attached Initial Status Conl'erence
    tl,rcicr on all parties furtliwith and iiIc ai Proofof Sc;rvicc in this dcparttncnt within scvcn (7) days
    of scrvicc.

   C4rtificatc of MaiEing is attachcd.




    _..- -. .. ..._..__. ._..___--__ .._..__~._._..._ __.__...... _. ...._ ..... ... _.,.._..._ .. ... . .. ....._... _.. _.._.__..___... .. ......_.._....._._.... ....._....
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 9   Attorneys for Plaintiff
     NICOLE A. WILLIAMS
10
     (counsel continued on next page)
11

12                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

13                                FOR THE COUNTY OF LOS ANGELES

14
     NICOLE A. WILLIAMS, individually and on            Case No.: 24STCV01463
15   behalf of others similarly situated,
                                                        Assigned for All Purposes to Judge William
16                       Plaintiff,                     F. Highberger, Dept. SS10
17                                                     JOINT INITIAL STATUS CONFERENCE
                            vs.
                                                       STATEMENT
18
     EUROMARKET DESIGNS, INC. DBA CB2                  Date: April 15, 2024
19   AND CRATE & BARREL AND CRATE &                    Time: 11:00 a.m.
     KIDS AND HUDSON GRACE; and DOES 1                 Dept.: SS10
20   through 25, inclusive,
21
                       Defendants.                     Complaint Filed: January 18, 2024
22                                                     Trial Date: Not set

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                       JOINT INITIAL STATUS CONFERENCE STATEMENT
Case 2:24-cv-02932-SPG-MAR          Document 1-1   Filed 04/11/24   Page 73 of 92 Page
                                         ID #:87




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22   EUROMARKET DESIGNS, INC.
     dba CB2 AND CRATE & BARREL
23   AND CRATE & KIDS AND HUDSON GRACE

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                      JOINT INITIAL STATUS CONFERENCE STATEMENT
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 1   TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2   Plaintiff NICOLE A. WILLIAMS (“Plaintiff”) and Defendant EUROMARKET DESIGNS, INC. DBA

 3   CB2 AND CRATE & BARREL AND CRATE & KIDS AND HUDSON GRACE (“Defendant”;

 4   collectively, the “Parties”), by and through their respective counsel of record, hereby submit the

 5   following Joint Initial Status Conference Statement pursuant to the Court’s February 1, 2024, Initial

 6   Status Conference Order (Complex Class Actions) in advance of the Initial Status Conference

 7   scheduled for April 15, 2024, at 11:00 a.m. in Department SS10.

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                       JOINT INITIAL STATUS CONFERENCE STATEMENT
Case 2:24-cv-02932-SPG-MAR     Document 1-1       Filed 04/11/24   Page 75 of 92 Page
                                    ID #:89


 1       1. PARTIES AND COUNSEL

 2   Party Name                        Counsel of Record
 3   Plaintiff NICOLE A. WILLIAMS      Barbara DuVan-Clarke (State Bar No. 259268)
                                       BDC@blackstonepc.com
 4                                     Alexander K. Spellman (State Bar No. 250398)
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 5                                     P.J. Van Ert (State Bar No. 234858)
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                                       Annabel Blanchard (State Bar No. 258135)
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15
     Defendant EUROMARKET DESIGNS,     Ellen M. Bronchetti (SBN 226975)
16   INC. DBA CB2 AND CRATE &          GREENBERG TRAURIG, LLP
     BARREL AND CRATE & KIDS AND       12760 High Bluff Drive, Suite 240
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24                                     millerta@gtlaw.com

25                                     Bailey A. Hashim (SBN 322098)
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                       JOINT INITIAL STATUS CONFERENCE STATEMENT
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 1             2. STATUS OF PLEADINGS:

 2             Parties’ Position:

 3             All Defendants were properly served, and proof of service was filed with the court on March

 4   13, 2024. Defendant has not appeared in the case to date. The Parties’ Counsel have communicated

 5   informally and agreed to request of this Court that the Initial Status Conference be continued by thirty

 6   (30) to forty-five (45) days so that the Parties and their counsel may further communicate about the

 7   matter.

 8             3. POTENTIAL ADDITIONAL PARTIES

 9             Plaintiff’s Position: Plaintiff does not anticipate adding additional parties but reserves the

10   right to do so. Plaintiff, however, reserves the right to seek leave to amend this Complaint to add new

11   plaintiffs, if necessary, in order to establish suitable representative(s) pursuant to La Sala v. American

12   Savings and Loan Association (1971) 5 Cal.3d 864, 872, and other applicable law. Plaintiff further

13   reserves the right to name additional defendants in the event that she ascertains additional necessary

14   parties following completion of discovery.

15             Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

16   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

17   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

18   counsel may further communicate about the matter.

19             IMPROPERLY NAMED DEFENDANTS

20             Plaintiff’s Position: Plaintiff believes Defendant is properly named in the lawsuit.

21             Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

22   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

23   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

24   counsel may further communicate about the matter.

25             4. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE

26             Plaintiff’s Position: Plaintiff contends that she will be an adequate class representative

27   because she has suffered the same labor code violations as other employees who worked for

28   Defendants, she understands what this class action matter is about, and she has agreed to represent all



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 1   affected employees and put the interests of the class ahead of any individual interests he may have.

 2           Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

 3   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

 4   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

 5   counsel may further communicate about the matter.

 6           5. ESTIMATED CLASS SIZE

 7           Plaintiff’s Position: Plaintiff is unaware of the putative class size at this time. Plaintiff

 8   proposes using the procedure approved in Bel-Aire West Landscape, Inc. v. Superior Court (2007) 149

 9   Cal.App.4th 554, and that the cost be borne on a pro rata share basis amongst the Parties.

10           Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

11   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

12   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

13   counsel may further communicate about the matter.

14           OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITION

15           Plaintiff’s Position: Plaintiff is not aware of any other action with potentially overlapping

16   class definitions.

17           Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

18   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

19   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

20   counsel may further communicate about the matter.

21           6. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION

22               WAIVER CLAUSES

23           Plaintiff’s Position: Plaintiff is unaware of any relevant arbitration and/or class action waiver

24   clauses at this time.

25           Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

26   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

27   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

28   counsel may further communicate about the matter.



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 1          7. POTENTIAL EARLY CRUCIAL MOTIONS

 2          Plaintiff’s Position: Plaintiff does not anticipate filing any early crucial motions at this time.

 3          Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

 4   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

 5   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

 6   counsel may further communicate about the matter.

 7          8. CLASS CONTACT INFORMATION

 8          Plaintiff’s Position: Plaintiff intends to propound special interrogatories seeking, inter alia,

 9   the names, phone numbers, addresses, and email addresses of the putative class members once the stay

10   is lifted. Although Plaintiff contends that a Belaire-West opt-out notice is not required under California

11   law, Plaintiffs are amenable to utilizing such a procedure in the event Defendants object to producing

12   the contact information on privacy grounds. Plaintiff agrees to split the cost of the notice equally with

13   Defendants.

14          Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

15   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

16   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

17   counsel may further communicate about the matter.

18          9. PROTECTIVE ORDERS

19          Plaintiff’s Position: If any Defendants contend that discovery will seek documents and

20   information that is proprietary or confidential, Plaintiff is amenable to utilizing the model Stipulation

21   and Protective Order – Confidential Designation Only available on the Los Angeles Superior Court’s

22   website for the Complex Department.

23          Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

24   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

25   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

26   counsel may further communicate about the matter.

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 1             10. DISCOVERY

 2             Plaintiff’s Position: Plaintiff anticipates serving form interrogatories, special interrogatories,

 3   and requests for production of documents as soon as the stay on discovery is lifted. Plaintiff will

 4   propound narrowly tailored discovery geared towards class certification issues; however, Plaintiff

 5   anticipates there may be limited overlap with merits discovery to the extent that certification issues

 6   overlap with merits issues. Brinker Restaurant Corp. v. Superior Court, 53 Cal. 4th 1004, 1023-24

 7   (2012).

 8             Plaintiff will also notice the deposition of Defendants’ Person(s) Most Knowledgeable once

 9   Plaintiff is in possession of relevant documents. Plaintiff does not anticipate taking discovery of

10   putative class members, except to the extent that if Defendants rely upon declarations of putative class

11   members in moving for summary judgment or in opposing Plaintiff’s class certification motion,

12   Plaintiff will seek to take their depositions.

13             Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

14   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

15   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

16   counsel may further communicate about the matter.

17             11. INSURANCE COVERAGE

18             Plaintiff’s Position: Plaintiff is unaware of any insurance applicable to this lawsuit.

19             Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

20   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial

21   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

22   counsel may further communicate about the matter.

23             12. ALTERNATIVE DISPUTE RESOLUTION

24             Plaintiff’s Position: Plaintiff is generally amenable to engaging in private mediation, provided

25   Defendants agrees to provide necessary informal discovery and enter into certain formal stipulations

26   regarding the Parties’ conduct during the pendency of mediation.

27             Defendant’s Position: Defendant has not appeared in the case to date. As stated, supra, the

28   Parties’ Counsel have communicated informally and agreed to request of this Court that the Initial



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 1   Status Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their

 2   counsel may further communicate about the matter.

 3           13. TIMELINE FOR CASE MANAGEMENT

 4           Parties’ Position: Defendant has not appeared in the case to date. As stated, supra, the Parties’

 5   Counsel have communicated informally and agreed to request of this Court that the Initial Status

 6   Conference be continued by thirty (30) to forty-five (45) days so that the Parties and their counsel may

 7   further communicate about the matter and further discuss appropriate additional deadlines to request

 8   of this Court in this matter.

 9                                                         Respectfully submitted,

10   Dated: April 9, 2024                          BLACKSTONE LAW, APC

11
                                            By:    ______________________________
12                                                 Barbara DuVan-Clarke
13                                                 Alexander K. Spellman
                                                   P.J. Van Ert
14                                                 Annabel Blanchard
                                                   Attorneys for Plaintiff NICOLE A. WILLIAMS
15

16

17   Dated: April 9, 2024                          GREENBERG TRAURIG, LLP

18

19                                          By:    /s/ Bailey Hashim
                                                   ______________________________
                                                   Ellen Bronchetti
20
                                                   Tayanah Miller
21                                                 Bailey Hashim

22                                                 Attorneys for Defendant EUROMARKET DESIGNS,
                                                   INC. DBA CB2 AND CRATE & BARREL AND CRATE
23                                                 & KIDS AND HUDSON GRACE
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                         JOINT INITIAL STATUS CONFERENCE STATEMENT
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                                            ID #:95




 1                                         PROOF OF SERVICE

 2                      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3           I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
     not a party to the within action. My business address is 8383 Wilshire Blvd, Suite 745, Beverly Hills,
 4   California 90211.
 5
         On April 9, 2024, I served the foregoing document(s) described as: JOINT INITIAL
 6    STATUS CONFERENCE STATEMENT on interested parties in this as follows:

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     Attorneys for Defendant EUROMARKET DESIGNS, INC. DBA CB2 AND CRATE & BARREL AND
21   CRATE & KIDS AND HUDSON GRACE
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     Attorneys for Plaintiff NICOLE A. WILLIAMS
28

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 1   ☒   BY ELECTRONIC MAIL (E-MAIL): I caused said document(s) to be delivered
         electronically to be delivered to the above referenced addressee(s) via email from email
 2       address jtor@blackstonepc.com pursuant to California Code of Civil Procedure section
         1010.6(e)(1). I did not receive any electronic message or other indication that the transmission
 3
         was unsuccessful.
 4
     ☒   STATE:
 5       I declare under penalty of perjury under the laws of the State of California that the above is
         true and correct.
 6
         Executed on April 9, 2024 at Beverly Hills, California.
 7

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 9                                             Jhessica Tor
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                                           PROOF OF SERVICE
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                                               ID #:97


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13    Attorneys for Defendant
      EUROMARKET DESIGNS, INC.
14

15
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
16
                                          COUNTY OF LOS ANGELES
17

18
      NICOLE A. WILLIAMS, individually and on        Case No. 24STCV01463
19    behalf of others similarly situated,
                                                     Assigned for all purposes to Hon. William F.
20             Plaintiff,                            Highberger

21    v.                                             DEFENDANT EUROMARKET DESIGNS,
                                                     INC.’S ANSWER TO PLAINTIFF NICOLE
22    EUROMARKET DESIGNS, INC. DBA CB2               A. WILLIAMS’ CLASS ACTION
      AND CRATE & BARREL AND CRATE &                 COMPLAINT
23    KIDS AND HUDSON GRACE; and DOES 1
      through 25, inclusive,
24
               Defendants.                           Action Filed: January 18, 2024
25

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                                                    1
           DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE A. WILLIAMS’ CLASS
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 1            Defendant EUROMARKET DESIGNS, INC. (“Defendant”) hereby answers the unverified

 2    Complaint (“Complaint”) of Plaintiff Nicole A. Williams (“Plaintiff”) as follows;

 3                                                 GENERAL DENIAL

 4            Pursuant to California Code of Civil Procedure § 431.30, Defendant denies, generally and

 5    specifically, each and every allegation, statement, matter, and purported cause of action contained in

 6    Plaintiff’s Complaint. In further answer to the Complaint, Defendant denies that Plaintiff and/or any

 7    members of the putative class have suffered any injury, damage, or loss in any nature or manner

 8    whatsoever by reason of any acts or omissions of Defendant.

 9                                            AFFIRMATIVE DEFENSES

10            Without waiving or excusing the burden of proof of Plaintiff, or admitting that Defendant has any

11    burden of proof, Defendant asserts the following affirmative defenses:

12                                        FIRST AFFIRMATIVE DEFENSE

13                                          (Failure to State a Cause of Action)

14            1.     Defendant is informed and believes, and based upon such information and belief alleges,

15    that Plaintiff’s Complaint, and the purported cause of action therein alleged, fails to state facts sufficient

16    to constitute a claim against Defendant upon which relief can be granted.

17                                           SECOND AFFIRMATIVE DEFENSE

18                                                    (Statute of Limitations)

19            2.     Defendant is informed and believes, and based upon such information and belief alleges,

20    that Plaintiff’s Complaint is barred, in whole or in part, to the extent Plaintiff seeks relief for any purported

21    claims that were not brought before the expiration of the applicable statute(s) of limitations.

22                                            THIRD AFFIRMATIVE DEFENSE

23                                                               (Laches)

24            3.     Defendant is informed and believes, and based upon such information and belief alleges,

25    that Plaintiff’s Complaint is barred, in whole or in part, by the doctrine of laches, in that Plaintiff

26    unreasonably delayed in bringing the action by not acting within a reasonable time in seeking the wages

27    and/or penalties at issue, or otherwise reporting any alleged violation of wage and hour laws, and

28    unreasonably delayed in the filing of this lawsuit, to Defendant’s prejudice.
                                                             2
        DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE A. WILLIAMS’ CLASS
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 1                                         FOURTH AFFIRMATIVE DEFENSE

 2                                                   (Federal Preemption)

 3             4.    Defendant alleges that, to the extent Plaintiff’s claims involve conduct that is, or seek

 4    remedies that are, governed or regulated by federal law, such claims are preempted.

 5                                          FIFTH AFFIRMATIVE DEFENSE

 6                                                    (Lack of Standing)

 7             5.    Defendant is informed and believes, and based upon such information and belief alleges,

 8    that Plaintiff lacks standing to assert each cause of action alleged in the Complaint and lacks standing to

 9    represent the putative class.

10                                          SIXTH AFFIRMATIVE DEFENSE

11                                                         (Estoppel)

12             6.    Defendant is informed and believes, and based upon such information and belief alleges,

13    that Plaintiff’s Complaint is barred, in whole or in part, by the doctrine of estoppel based on Plaintiff’s

14    and/or the conduct of some or all of the putative class members.

15                                        SEVENTH AFFIRMATIVE DEFENSE

16                                                     (Unclean Hands)

17             7.    Defendant is informed and believes, and based upon such information and belief alleges,

18    that the Complaint and the purported causes of action alleged therein are barred by the doctrine of unclean

19    hands.

20                                          EIGHT AFFIRMATIVE DEFENSE

21                                                         (Waiver)

22             8.    Defendant is informed and believes that Plaintiff has waived some or all of the purported

23    causes of action alleged in the Complaint by virtue of her prior representations, actions and inaction with

24    respect to her meal/rest periods and/or the wages at issue.

25                                          NINTH AFFIRMATIVE DEFENSE

26                                                (Avoidable Consequences)

27             9.    The Complaint, and each cause of action stated therein, is barred or limited because

28    Defendant took reasonable steps to provide measures and procedures to prevent and correct potential wage
                                                          3
        DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE A. WILLIAMS’ CLASS
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 1    and hour issues, Plaintiff unreasonably failed to use preventative and corrective measures and procedures

 2    that Defendant provided, and Plaintiff’s reasonable use of such measures and procedures would have

 3    prevented some or all of the harm Plaintiff’s allegedly suffered.

 4                                          TENTH AFFIRMATIVE DEFENSE

 5                                                 (Adequate Remedy at Law)

 6              10.   To the extent that Plaintiff seeks equitable relief, such claims are barred because Plaintiff

 7    has an adequate and complete remedy at law, and/or Plaintiff cannot make the requisite showing to obtain

 8    equitable relief.

 9                                         ELEVENTH AFFIRMATIVE DEFENSE

10                                               (Failure to Mitigate Damages)

11              11.   Defendant is informed and believes, and based upon such information and belief alleges,

12    that Plaintiff and/or members of the putative class members failed to exercise reasonable care to mitigate

13    their damages, if any were suffered, and that their right to recover against Defendant should be reduce

14    or eliminated by such failure.

15                                         TWELFTH AFFIRMATIVE DEFENSE

16                                                     (Failure to Exhaust)

17              12.   Defendant is informed and believes, and based upon such information and belief alleges,

18    that Plaintiff’s Complaint is barred, in whole or in part, because Plaintiff and/or members of the putative

19    class members failed to timely and completely exhaust the requisite administrative remedies available to

20    them under the California Labor Code and/or other provisions of applicable law prior to commencing this

21    action.

22                                      THIRTEENTH AFFIRMATIVE DEFENSE

23                                           (No Knowing and Intentional Failure)

24              13.   Defendant is informed and believes, and based upon such information and belief alleges,

25    that even assuming arguendo Plaintiff and/or members of the putative class were not provided with proper

26    itemized wage statements, Plaintiff and/or members of the putative class are not entitled to recover

27    penalties because Defendant’s alleged failure to comply with California Labor Code § 226 was not a

28    “knowing and intentional failure.”
                                                           4
        DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE A. WILLIAMS’ CLASS
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                                                 ID #:101


 1                                      FOURTEENTH AFFIRMATIVE DEFENSE

 2                                 (Labor Code § 226 – Clerical Error/Inadvertent Mistake)

 3           14.     Defendant alleges that, even assuming arguendo Plaintiff and/or members of the putative

 4    class were not provided with proper itemized wage statements, Plaintiff and/or members of the putative

 5    class should not recover damages or penalties because Defendant’s alleged failure to comply with

 6    California Labor Code section 226(a) was the result of clerical error or inadvertent mistake.

 7                                        FIFTEENTH AFFIRMATIVE DEFENSE

 8                                       (Labor Code § 226 – Substantial Compliance)

 9           15.     Defendant is informed and believes, and based upon such information and belief alleges,

10    that, Plaintiff and/or members of the putative class are not entitled to recover any damages or penalties

11    because Defendant substantially complied with California Labor Code section 226(a).

12                                       SIXTEENTH AFFIRMATIVE DEFENSE

13                                            (No Willful or Intentional Violation)

14           16.     Defendant is informed and believes, and based upon such information and belief alleges,

15    that even assuming arguendo Plaintiff and/or members of the putative class were not timely paid any final

16    wages owed upon separation from employment, Plaintiff and/or members of the putative class are not

17    entitled to recover penalties because Defendant’s alleged failure to comply with California Labor Code §

18    203 was not willful nor intentional within the meaning of California Labor Code §§ 201, 202, or 203.

19                                     SEVENTEENTH AFFIRMATIVE DEFENSE

20                                                    (Good Faith Dispute)

21           17.     Defendant is informed and believes, and on that basis alleges, that any violation of the

22    California Labor Code or an Order of the Industrial Welfare Commission was an act or omission made in

23    good faith, Defendant had reasonable grounds for believing that its wage payment practices complied with

24    applicable laws, and that any such act or omission was not a violation of the California Labor Code or any

25    Order of the Industrial Welfare Commission such that Plaintiff and/or members of the putative class are

26    not entitled to any penalties or damages in excess of any wages which might be found to be due.

27    Specifically, Plaintiff cannot recover California Labor Code section 226 or section 203 civil penalties because

28    any alleged failure to pay wages or provide compliant wage statements was based on a good faith dispute
                                                           5
        DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE A. WILLIAMS’ CLASS
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 1    regarding the applicable law or fact.

 2                                       EIGHTEENTH AFFIRMATIVE DEFENSE

 3                                                (Set-Off/Offset/Recoupment)

 4            18.     Defendant is informed and believes, and based upon such information and belief alleges,

 5    that the Complaint and the purported causes of action alleged therein are subject to setoff, offset and/or

 6    recoupment to the extent Plaintiff and/or members of the putative class have already been compensated

 7    for the hours worked and/or received meal and rest break premiums for which they seek compensation

 8    here.

 9                                       NINETEENTH AFFIRMATIVE DEFENSE

10                                    (No Liquidated Damages – Labor Code § 1194.2(b))

11            19.    Defendant is informed and believes, and on that basis alleges, that any violation of the

12    California Labor Code or an Order of the Industrial Welfare Commission related to minimum wage was

13    an act or omission made in good faith. Defendant had reasonable grounds for believing that its wage

14    payment practices complied with applicable laws, and that any such act or omission was not a violation

15    of the California Labor Code or any Order of the Industrial Welfare Commission such that Plaintiff and/or

16    members of the putative class are not entitled to any liquidated damages. Specifically, Plaintiff cannot

17    recover liquidated damages under California Labor Code section 1194.2 because any alleged failure to

18    pay minimum wages was based on an act or omission made in good faith and Defendant has reasonable

19    grounds for believing that the act or omission was not a violation of any provision of the Labor Code or

20    an Order of the Industrial Welfare Commission related to minimum wage.

21                                        TWENTIETH AFFIRMATIVE DEFENSE

22                                                    (Bona Fide Dispute)

23            20.     Defendant alleges there exists a bona fide dispute as to whether any further compensation

24    is actually due to Plaintiff and/or members of the putative class and, if so, the amount thereof.

25                                      TWENTY-FIRST AFFIRMATIVE DEFENSE

26                                                       (De Minimis)

27            21.     Defendant alleges that the Complaint and each cause of action set forth therein, or some of

28    them, cannot be maintained against Defendant because Defendant’s acts or omissions, if any, and the
                                                           6
        DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE A. WILLIAMS’ CLASS
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 1    alleged damages are de minimis.

 2                                   TWENTY-SECOND AFFIRMATIVE DEFENSE

 3                                            (Accord, Satisfaction and Release)

 4           22.      Defendant alleges that Plaintiff’s and/or members of the putative class claims are barred

 5    by accord and satisfaction, release, and/or settlement.

 6                                    TWENTY-THIRD AFFIRMATIVE DEFENSE

 7    (Business & Professions Code § 17200 et seq. – Failure to Allege Facts with Reasonable Particularity)

 8           23.     Defendant alleges that Plaintiff’s purported cause of action for unfair, unlawful and/or

 9    fraudulent business practices under California Business and Professions Code section 17200 et seq. is

10    barred and/or limited by law because Plaintiff has failed to state with reasonable particularity the facts

11    supporting the statutory elements of the alleged violation.

12                                   TWENTY-FOURTH AFFIRMATIVE DEFENSE

13               (Business & Professions Code § 17200 et seq. – Practices Not Unfair, Unlawful or Fraudulent)

14           24.     Defendant alleges that Plaintiff’s purported cause of action for unfair, unlawful and/or

15    fraudulent business practices under California Business and Professions Code section 17200 et seq. is

16    barred and/or limited by law because any purported practice by Defendant was not unfair, unlawful, or

17    fraudulent.

18                                    TWENTY-FIFTH AFFIRMATIVE DEFENSE

19                        (Business & Professions Code § 17200 et seq. – No Continuing Violation)

20           25.     To the extent the Complaint seeks to enjoin Defendant from engaging in alleged unfair,

21    unlawful and/or fraudulent business actions or practices, if any, such claims are moot because, assuming

22    arguendo that Defendant engaged in any such actions or business practices, Defendant has since

23    discontinued, modified, and/or corrected its policies and practices and no longer engage in the alleged

24    conduct.

25                                    TWENTY-SIXTH AFFIRMATIVE DEFENSE

26                    (Business & Professions Code § 17200 et seq. – Defense Against “Borrowed” Law)

27           26.     Defendant alleges that the Complaint’s purported cause of action for unfair, unlawful

28    and/or fraudulent business practices is barred and/or limited by law because Plaintiff fails to state facts
                                                          7
        DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE A. WILLIAMS’ CLASS
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 1    sufficient to constitute claims upon which relief can be granted against Defendant and from which

 2    Plaintiff’s unfair, unlawful and/or fraudulent business practices claim “borrows,” and/or Defendant has

 3    complied with the underlying laws for which Plaintiff’s unfair, unlawful and/or fraudulent business

 4    practices claim seeks redress.

 5                                     TWENTY-SEVENTH AFFIRMATIVE DEFENSE

 6                                  (Failure to State a Claim for Attorneys’ Fees and Costs)

 7           27.     Defendant alleges that the Complaint fails to state a claim for attorneys’ fees and costs

 8    under California Labor Code section 1194, California Civil Code section 1021.5, California Business and

 9    Professions Code section 17200 et seq., or any other basis.

10                                     TWENTY-EIGHTH AFFIRMATIVE DEFENSE

11                                                (Lack of Irreparable Injury)

12           28.     Defendant alleges that Plaintiff and/or members of the putative class are not entitled to

13    injunctive relief as Plaintiff and/or members of the putative class have not suffered any irreparable injury.

14                                      TWENTY-NINTH AFFIRMATIVE DEFENSE

15                                             (Res Judicata/Collateral Estoppel)

16           30.     Defendant is informed and believes, and based upon such information and belief alleges,

17    that Plaintiff’s Complaint is barred, in whole or in part, by the doctrines of res judicata and/or collateral

18    estoppel.

19                                        THIRTIETH AFFIRMATIVE DEFENSE

20                                                    (Binding Arbitration)

21           31.     Defendant is informed and believes, and based upon such information and belief alleges,

22    that Plaintiff’s Complaint is barred, in whole or in part, because the claims alleged may be subject to a

23    mandatory and binding arbitration agreement between Defendant and Plaintiff and/or between Defendant

24    and some or all of the putative class members, and therefore may not be litigated in court.

25                                     RESERVATION OF RIGHT TO AMEND ANSWER

26           Defendant hereby gives notice that it intends to rely on such other and further defenses as may

27    become available during investigation and discovery in this action. Defendant expressly reserves the right

28    to amend the Answer to assert any such defenses.
                                                           8
        DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE A. WILLIAMS’ CLASS
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                                               ID #:105


 1                                                    PRAYER

 2           WHEREFORE, Defendant prays for judgment as follows:

 3           1.     That Plaintiff take nothing by her unverified Complaint;

 4           2.     That judgment be entered in favor of Defendant and against Plaintiff on all causes of action;

 5           3.     That the Complaint be dismissed in its entirety with prejudice;

 6           4.     That Defendant be awarded reasonable attorneys’ fees according to proof;

 7           5.     That Defendant be awarded the costs of suit incurred herein; and

 8           6.     That Defendant be awarded such other and further relief as the Court may deem appropriate

 9    and proper.

10                                                  Respectfully submitted,

11    Dated: April 10, 2024                         GREENBERG TRAURIG, LLP

12

13                                             By
                                                    ELLEN BRONCHETTI
14                                                  TAYANAH C. MILLER
                                                    BAILEY A. HASHIM
15
                                                    Attorneys for Defendant
16                                                  EUROMARKET DESIGN, INC.
17

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        DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE A. WILLIAMS’ CLASS
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                                                  ID #:106


 1    Nicole A. Williams vs. Euromarket Designs, Inc.
      Los Angeles County Superior Court Case No. 24STCV01463
 2

 3                                              PROOF OF SERVICE

 4            I am a citizen of the United States, over the age of 18 years, and not a party to or interested in this
      action. I am employed in the County of San Francisco, State of California and my business address is
 5    Greenberg Traurig, LLP, 101 Second Street, Suite 2200, San Francisco, California 94105.

 6           On this day, I caused to be served the following document(s):

 7           DEFENDANT EUROMARKET DESIGNS, INC.’S ANSWER TO PLAINTIFF NICOLE
             A. WILLIAMS’ CLASS ACTION COMPLAINT
 8
             By placing      the original     a true copy into sealed envelopes addressed and served as follows:
 9
       Jonathan M. Genish                                         Attorneys for Plaintiff
10     Barbara DuVan-Clarke
       Alexander K. Spellman                                      NICOLE A. WILLIAMS
11     P.J. Van Ert
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       pjvanert@blackstonepc.com
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       Angel J. Horacek
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       5701 West Slauson Avenue, Suite 210
17     Culver City, CA 90230
       angel@horaceklaw.com
18

19           BY MAIL: I am familiar with this firm’s practice whereby the mail, after being placed in a
             designated area, is given fully prepaid postage and is then deposited with the U.S. Postal
20           Service at San Francisco, California, after the close of the day’s business.
21
              I declare under penalty of perjury under the laws of the State of California that the foregoing is
22    true and correct.
23           Executed on April 10, 2024 at San Francisco, California.
24

25

26

27

28                                                                       Karen D. Davis


                                                   PROOF OF SERVICE
